                   IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

    DARRYL HOWARD                       )
                                        )
                     Plaintiff,         )
                                        )
              v.                        )        1:17cv477
                                        )
    CITY OF DURHAM, et. al,             )
                                        )
                     Defendants.        )

                       MEMORANDUM OPINION AND ORDER

THOMAS D. SCHROEDER, Chief District Judge.

        This case arises out of the conviction and incarceration of

Plaintiff Darryl Howard for the 1991 murders of Doris and Nishonda

Washington, which conviction was subsequently overturned in 2016

based on the discovery of exculpatory DNA evidence and the State

of North Carolina’s election to dismiss all criminal                 charges

against Howard.       Howard alleges that Defendants Darrell Dowdy and

Milton Smith (“Defendants”) fabricated and suppressed evidence to

obtain his conviction.1       Before the court are multiple motions in

limine filed by the parties in anticipation of trial.                For the

reasons set forth below, the motions will be granted in part and

denied in part.

I.      BACKGROUND

        The background of this case is extensively set out in this




1Additional Defendants and claims were dismissed on dispositive motions
(Docs. 22, 119) and a stipulation of dismissal (Doc. 126).




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court’s prior summary judgment order.               Howard v. City of Durham,

487 F. Supp. 3d 377 (M.D.N.C. 2020).                   Relevant facts will be

discussed as pertinent to each pending motion.                  In short, in the

early hours of November 27, 1991, Doris Washington and her 13-

year-old daughter, Nishonda, were found dead in their Durham, North

Carolina apartment after the local fire department responded to

reports of a fire.         Doris died of blunt force injuries; Nishonda

was strangulated.         Medical evidence suggested both had some form

of     prior    sexual    activity.        Defendant    Dowdy     conducted    the

investigation       by    the    Durham    Police   Department     (“DPD”),    and

eventually Howard was charged with the murders and arson. In 1994,

DNA evidence ruled Howard out as a contributor to any sexual

activity involving the victims, and he was released from custody

pending trial.       Howard was tried for the crimes in March 1995, and

following      testimony        by   multiple   witnesses   including       Howard

himself,       he   was   convicted       and   sentenced   to    80   years     of

imprisonment.       But in 2009, Howard took advantage of a new state

law and sought and obtained retesting of the semen/sperm taken

from    the    victims,    which     linked the DNA     contributed    to     Doris

Washington to a Jermeck Jones and eventually led to a December

2016 state court ruling granting Howard a new trial.                   The State

thereafter dismissed all charges, and this lawsuit followed.                    On

April 30, 2021, the governor issued Howard a “Pardon of Innocence.”



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        The case is set for trial in November 2021, and the parties

initially filed 29 motions in limine, including multiple cross

motions and totaling over 3,800 pages of materials.                  The court

directed the parties to meet and confer to resolve or narrow their

evidentiary disputes because they had not previously attempted to

do so.        (Doc. 242.)   The parties responded, noting resolution of

some motions.       (Doc. 246.)     A hearing was held on July 23, 2021,

on the remaining motions, and the court ruled orally on several

motions and took others under advisement.                 The court further

directed the parties to file supplemental material, which has now

been filed.2 (Docs. 250-257.)           This order memorializes the court’s

decisions at the July 23 hearing and provides further rulings on

the remaining motions.

II.     ANALYSIS

        A.     Factual Innocence and Pardon of Innocence

        The    parties   have   filed   multiple    motions   that   relate   to

evidence of Howard’s innocence.              Specifically, Defendants move to

exclude any reference to Howard’s “factual innocence,” including

those contained in the December 2016 Order of North Carolina

Superior Court Judge Orlando Hudson granting Howard a new trial

after a hearing on the DNA (Doc. 161), and the April 2021 Pardon


2After the July 23 hearing, Defendants withdrew their motion (Doc. 175)
to exclude evidence of any alleged violation of DPD policies or standard
procedures. (Doc. 252.) To the extent Defendants may seek a limiting
instruction regarding this evidence (id.), the court will entertain that
request once made.

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of Innocence issued to Howard by North Carolina Governor Roy Cooper

(Doc. 210).       Howard seeks to admit a summary of Judge Hudson’s

Order and the full Pardon of Innocence.          (Doc. 186.)

             1.    December 2016 Order

       While DNA test results at the time of Howard’s 1995 trial

excluded him as having contributed any bodily fluids suggesting

any sexual activity with Nishonda Washington,3 it was not until

2014 when DNA identified a particular individual, Jermeck Jones,

as having contact with Doris Washington.           This prompted Howard’s

motion for a new trial pursuant to N.C. Gen. Stat. § 15A-270 and,

following a hearing in state court, resulted in the December 2016

Order granting Howard a new trial.        The Order is 25 pages long and

single-spaced.      Among its many factual findings is a statement

that Howard is “factually innocent” of the murders of Doris and

Nishonda Washington.       (Doc. 87-3 at 25.)      Howard has advised the

court that he does not seek to admit the entire text of the December

2016 Order or its finding that Howard is “factually innocent,” and

that the parties intend to offer a proposed summary of the Order

that can be provided to the jury.            (Doc. 246 at 6.)       To this

extent, Defendants’ motion to exclude any reference to a purported

finding of factual innocence by Judge Hudson appears to be moot.

But because Judge Hudson’s statement of “factual innocence” is



3   No sperm was detected on Doris Washington at the time.


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dicta and purports to resolve what is otherwise a contested issue

in this case, Howard himself or through his witnesses shall not

mention this finding in Judge Hudson’s December 2016 Order abse nt

a further ruling of this court.4


4 This result is consistent with North Carolina law. Section 15A-270,
pursuant to which Howard’s motion was filed, broadly grants a court that
receives DNA results favorable to a defendant the power to enter “any
order that serves the interests of justice,” including vacating the
judgment, discharging the defendant, resentencing the defendant, or
granting a new trial. N.C. Gen. Stat. § 15A-270(c). However, as for
judicial proceedings, it is the North Carolina Innocence Inquiry
Commission (“NCIIC”) that is charged with determining factual innocence.
See N.C. Gen. Stat. § 15A-1417 (listing types of relief available when
a court grants a motion for appropriate relief including “[f]or claims
of factual innocence, referral to the North Carolina Innocence Inquiry
Commission”).    The statutes creating the NCIIC are detailed and
comprehensive. See N.C. Gen. Stat. §15A-1460 et seq. Their purpose is
to establish “an extraordinary procedure to investigate and determine
credible claims of factual innocence.” Id. § 15A-1461. The NCIIC has
the power to, among other things, “conduct inquiries into claims of
factual innocence.” Id. § 15A-1466(2). If the NCIIC concludes there
is “sufficient evidence of factual innocence to merit judicial review,”
a three-judge panel is appointed to “rule as to whether the convicted
person has proved by clear and convincing evidence that the convicted
person is innocent of the charges.”     Id. § 15A-1469(a), (h).    As it
relates to the December 2016 Order, there was no referral of Howard’s
case to the NCIIC and no finding of factual innocence by that body. Nor
does the December 2016 Order make any finding based on the heightened
“clear and convincing” standard.     Rather, the Order finds that the
results of the DNA testing are “favorable” to Howard. (Doc. 87-3 at
25.)
      It does appear that, consistent with the long-standing practice in
North Carolina state courts, the December 2016 Order was drafted by
counsel for the prevailing party, in this case Howard, based on the text
of the draft and other identifying information on the document, which
might explain the inclusion of the purported finding of “actual
innocence.” A court’s practice of having trial counsel prepare detailed
findings, and adopting them wholesale, risks the trial judge abandoning
his responsibility to independently determine a case and is expressly
condemned in the federal courts. See Anderson v. City of Bessemer City,
N.C., 470 U.S. 564, 571-72 (1985) (criticizing practice of courts
adopting verbatim adoption of findings of fact prepared by prevailing
parties, noting the Fourth Circuit’s suggestion that “close scrutiny of
the record” was warranted); Chicopee Mfg. Corp. v. Kendall Co., 288 F.2d
719, 724-25 (4th Cir. 1961) (finding that the practice of having the


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             2.    Gubernatorial Pardon

        The determination of the admissibility of Governor Cooper’s

Pardon of Innocence requires that this federal court wade into

issues of North Carolina constitutional law with little guidance

from North Carolina state courts.          Howard proffers two arguments

for admitting the pardon.         First, he argues that it is relevant

evidence needed to “complete the procedural story” of his criminal

case and counter the fact of his initial conviction.            (Doc. 189 at

3.)     Second, he contends that the pardon is evidence of innocence

that    can prove    “circumstantially     that   details in a falsified

statement came from police” and thus is relevant to whether Dowdy

fabricated evidence as well as to the issue of damages. 5               (Doc.

189 at 3-4.)      Defendants counter that the pardon runs afoul of the



prevailing party prepare a written decision for the judge “involves the
failure of the trial judge to perform his judicial function”). Here,
the trial judge did not even correct references in the document to
“undersigned counsel” in the Order.       (See Doc. 211-2 at 2 n.3.)
Accordingly, any reference to a finding of “factual innocence” is dicta
as it exceeds the scope of a motion for a new trial under the state’s
DNA statute and appears inconsistent with an order granting a new trial.
     Any reference to the December 2016 Order’s textual findings also
appears to be unwarranted under Federal Rule of Evidence 403, as the
judge’s decision makes findings on the very evidence that is to be
presented in the present case. See Nipper v. Snipes, 7 F.3d 415, 418
(4th Cir. 1993) (finding abuse of discretion where trial court admitted
prior judicial decision with findings of fact as evidence against
defendant).
5 Howard argues that there are “only two possible explanations for how
witness Angela Southerland’s statement included nonpublic details about
the crime”: either she did in fact witness the crime, or Dowdy
“improperly fed that information to her.” (Doc. 189 at 5.) Of course,
this ignores a third option: that the witness learned facts from someone
involved in the crimes and simply lied to investigators.

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North Carolina Constitution, is hearsay, and should be excluded

pursuant to Rule 403 of the Federal Rules of Evidence as its

probative value is substantially outweighed by the dange r of unfair

prejudice and misleading the jury.       (Doc. 211.)

     Turning first to Defendants’ assertion that the pardon “does

not comply with the North Carolina Constitution” (Doc. 211 at 3),

such an argument is unpersuasive.       The North Carolina Constitution

provides in relevant part: “The Governor may grant reprieves,

commutations, and pardons, after conviction.”           N.C. Const. art.

III, § 5(6). Defendants rely on the “after conviction” requirement

to contend that, because Howard’s conviction was vacated by Jud ge

Hudson in 2016, there was no such “conviction” for which Howard

could be pardoned in 2021.    Thus, Defendants argue, Howard’s pardon

in 2021 was not “after conviction” as required by the constitution.

(Doc. 211 at 3-8.)         Howard argues that Defendants’ claim is

contrary to existing state judicial interpretation and practice.

     As a federal court construing North Carolina law, this court

applies the jurisprudence of North Carolina’s highest court, the

Supreme Court of North Carolina.        See Private Mortg. Inv. Servs.,

Inc. v. Hotel & Club Assocs., Inc., 296 F.3d 308, 312 (4th Cir.

2002); State ex rel. Martin v. Preston, 325 N.C. 438, 449 (1989)

(noting   that   “issues   concerning    the   proper   construction      and

application of North Carolina laws and the Constitution of North

Carolina can only be answered with finality by” the North Carolina

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Supreme Court).          When that court has not spoken directly on an

issue, this court must “predict how that court would rule if

presented with the issue.”                Id.     The decisions of the North

Carolina Court of Appeals are the “next best indicia” of what North

Carolina’s law is, though its decisions “may be disregarded if the

federal court is convinced by other persuasive data that the

highest court of the state would decide otherwise.”                Id. (quoting

Liberty Mut. Ins. Co. v. Triangle Indus., Inc., 957 F.2d 1153,

1156 (4th Cir. 1992)).         In predicting how the highest court of a

state would address an issue, this court “should not create or

expand      a     [s]tate’s    public          policy.”   Time    Warner    Ent.-

Advance/Newhouse P'ship v. Carteret-Craven Elec. Membership Corp.,

506 F.3d        304, 314   (4th    Cir.    2007)    (alteration   and quotation

omitted).

        There is little case law interpreting the governor’s pardon

power. Both parties point to the nearly 150-year-old case of State

v. Alexander, 76 N.C. 231 (1877), to support their claims.                 There,

the defendant had been tried, found guilty by a jury, and sentenced

by the state trial court to five years’ imprisonment.                  Id. at 231-

32.     The defendant then appealed to the North Carolina Supreme

Court, which at the time resulted in his conviction and sentence

being vacated during the pendency of the appeal by operation of

law.     Id.     The question became, as is the case here, whether the

governor        could   properly   use    the    pardon   power   to   pardon   an

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individual whose conviction had been vacated — i.e., whether the

“after conviction” clause in the state constitution prohibited

pardons where convictions were vacated.

     The Alexander court found the governor’s use of his pardon

power   to    be   “after    conviction,”     even   though   the   defendant’s

conviction had been vacated, because the defendant had been tried

and convicted by a jury prior to the issuance of the pardon.                 Id.

at 233.      The court observed that “nothing can be a conviction but

the verdict of the jury.”          Id.    It then reasoned that the “after

conviction” clause was         included in the state          constitution    to

prevent the governor from issuing preemptory pardons before a

defendant was publicly tried.            The practice at the time the state

constitution was written, the court noted, was to “exercise[] the

power of pardon at any time,” meaning “crimes were smothered.                The

facts were not brought to light.               The person charged was not

brought before the public and required to answer the charge.”                Id.

at 232.

     The “smothering of crimes” is of no concern in the present

case.     In 1995, Howard was subjected to a public trial, found

guilty by a jury, and sentenced to 80 years of imprisonment.             (Doc.

89-6 at 765:18-766:10; 777:8-778:23.)           Although the superior court

subsequently       vacated   his   sentence    and   judgments,     Howard   was

brought before the public and convicted by a jury who heard the

allegations against him.        As was the case in Alexander, Howard was

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thus pardoned “after conviction” in that he was convicted in 1995

after a full trial and a guilty verdict returned by the jury, even

if that conviction was subsequently vacated in 2016.

     Defendants point to the dissent in Alexander to argue that

“as a matter of both law and practice, there was no conviction

from which [Howard] could seek a pardon.”       (Doc. 211 at 4.)    After

his conviction    was vacated,    they    note, Howard was thereafter

presumed innocent as if he was never tried in the first place.

Defendants’ argument follows that vacating a conviction erases the

conviction as a practical and legal matter such that it never

existed.     Chief   Justice    Pearson,    dissenting   in   Alexander,

expressed a similar concern that once an individual “moves to set

aside the verdict and have a new trial . . . his guilt is not

established according to law.”          See Alexander, 76 N.C. at 238

(Pearson, C.J., dissenting.)     Defendants reiterate this argument,

noting that by vacating Howard’s conviction, “the North Carolina

Judiciary has not established Plaintiff’s guilt or exonerated him

of the charge.”   (Doc. 211 at 7-8.)      It is, they say, as if Howard

has never been convicted, and a subsequent pardon would fail to

comply with the state constitution.

     Principles of federalism counsel federal courts to proceed

with caution when being asked to interpret a state constitution.

See Bush v. Palm Beach Cnty. Canvassing Bd., 531 U.S. 70, 78 (2000)

(recognizing that it is a “fundamental” principle of federalism

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“that state courts be left free and unfettered by [federal courts]

in interpreting their state constitutions.” (quoting Minnesota v.

Nat’l Tea Co., 309 U.S. 551, 557 (1940)); Carpenter v. Wichita

Falls Indep. Sch. Dist., 44 F.3d 362, 367 (5th Cir. 1995) (noting

that a federal court deciding state constitutional law claims

“disregards principles of federalism; it ignores the superiority

of state-court forums for state-law claims and denigrates the

state’s authority to fashion independent constitutional law.”)

overruled on other grounds by Rivet v. Regions Bank of Louisiana,

522 U.S. 470 (1998).      This is especially true where the source of

support is a single dissent from 1877 and the Defendants’ position

contravenes the seemingly routine practice over the years of North

Carolina    governors     issuing     pardons    to   individuals    whose

convictions had been overturned.          (See Doc. 244 at 5 (collecting

examples).)     For these reasons, the court declines to find that

Howard’s pardon runs afoul of the North Carolina Constitution.

     Turning to the questions of relevance and admissibility,

Howard’s remaining legal claims are for fabrication of evidence

and failure to investigate under § 1983, a Brady-based claim for

suppression of evidence, and a claim for intentional infliction of

emotional distress under state law.         Howard correctly admits that

evidence of his innocence, including the pardon, “is not a required

element    of   the   claims”   he   maintains   against   the   remaining

Defendants.     (Doc. 189 at 3.)      This is because the focus of the

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case is on the conduct of the Defendants leading up to Howard’s

trial in 1995, not on Howard’s ultimate guilt or innocence or what

new facts were later learned.        Nevertheless, he argues that the

pardon   “provides   critical    factual    context   for   evaluating   the

evidence of the alleged misconduct by the Defendants” and is

“undoubtedly relevant to damages.”          (Id. at 4-6.)      In support,

Howard relies principally on two cases that involve a plaintiff

seeking to admit a pardon.       See Newsome v. McCabe, 2002 WL 548725

(N.D. Ill. Apr. 4, 2002), aff’d, 319 F.3d 301 (7th Cir. 2003);

Tarlton v. Sealey, 2021 WL 1148951 (E.D.N.C. Mar. 25, 2021).

     Both cases have facts similar to those in this case — the

plaintiff was convicted and imprisoned, the conviction was later

vacated by the state court, the state declined to re-prosecute,

and the state’s governor issued a pardon.             Both courts admitted

the pardon without offering extensive explanation.             The Tarlton

court stated that “pardons of innocence are as relevant to this

action   as   the   criminal    judgments   of    conviction   under   which

[plaintiffs] were sentenced” but provided no further analysis.

See Tarlton, 2021 WL 1148951, at *1.             The Newsome court offered

slightly more, noting:

     The issue in this case was not, as defendants point out,
     whether Newsome was guilty or innocent of the crime.
     But that is what it would have become if the fact of
     Newsome’s innocence . . . had been kept from the jury.
     Excluding   that evidence would have       been highly
     prejudicial to Newsome. It would have invited the jurors
     to draw the impermissible inference that he was actually

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      guilty,   and,        thus,     absolve       defendants        of    any
      misconduct.”

Newsome, 2002 WL 548725, at *6. Any potential prejudice, the court

concluded, could be cured by jury instructions.                 Id.

      Here, while Defendants object to the pardon as inadmissible

hearsay (Doc. 211 at 16-22), as Howard argues (Doc. 244 at 15-18),

the pardon qualifies as a public record under Federal Rule of

Evidence 803(8).      The public records exception to the hearsay rule

allows for the admission in a civil case of “factual findings from

legally authorized investigation[s]” as long as the opponent “does

not show that the source of information or other circumstances

indicate a lack of trustworthiness.”                 Fed. R. Evid. 803(8) (A)

(iii). The pardon is a pronouncement of a public agency concerning

factual    findings    of    a    legally-authorized       investigation,         and

Defendants have not met their burden of showing that the pardon

itself is untrustworthy.            Cf. Sanford v. Russell, No. 17-13062,

2021 WL 1208888, at *3 (E.D. Mich. Mar. 31, 2021) (finding state’s

admission of innocence in state proceeding under state’s Wrongful

Imprisonment    Compensation        Act     admissible    under    Rule     803(8)).

Indeed, the district attorney for Durham County did not oppose the

pardon request.     (Doc. 189-4 at 2.)            And Howard is correct that in

a   wrongful   conviction        lawsuit    the    procedural     history    of   the

original criminal case is relevant.                But the issue seems closer

than what Newsome suggests.                The jury will know of Howard’s


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original conviction, and it will know that the conviction was

overturned based on exculpatory DNA evidence that identified the

actual contributor of sperm to one of the victims.           It will also

know that the State not only declined to re-prosecute Howard but

instead dismissed all charges. Defendants contend that these facts

“complete the story” of Howard’s original criminal case and a

proper jury instruction can explain that he enjoys the presumption

of innocence like any other person so as to put him on an equal

footing with everyone else.       On the other hand, a presumption of

innocence is not the same as a finding of innocence.               This is

especially true where the decision not to re-prosecute is based,

even in part, on the passage of time and difficulty in marshalling

evidence.     (Doc. 189-1 at 2-4 (Dismissal Orders noting: “At this

time there is insufficient evidence to prove the case beyond a

reasonable doubt.”).)

     The     probative   value   of   evidence   can   be   more   or   less

significant depending on whether a fact is genuinely contested.

See Old Chief v. United States, 519 U.S. 172, 184-85 (1997).              At

the hearing on these motions when the court pressed Defendants on

whether they intended to argue at trial that Howard was in fact

guilty of the crimes for which he has been pardoned , Defendants

answered “I think at this point it would be - - yes, that we

would.”     (Doc. 262 at 6:15-16.)     Defendants also represented that

at least one witness “and perhaps another witness or two” takes

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the position that Howard may still be guilty of these crimes

despite    his    pardon.      (Id.       at 6:8-12.)       By all      indications,

Defendants will continue to argue Howard’s guilt, particularly as

Howard intends to argue his innocence.                  Because Defendants will

continue to argue Howard’s guilt, the probative value of competing

evidence    suggesting      Howard’s        innocence      is    heightened.         See

Sanford,    No.    17-13062,    2021       WL   1208888,    at    *2   (holding      the

probative value of competing evidence suggesting innocence was not

substantially outweighed by the danger of unfair prejudice because

there was still “a live dispute” about the plaintiff’s innocence);

Old Chief, 519 U.S. at 184.

       As Howard urges, his guilt or innocence is relevant to whether

any trial witness’s statement was fabricated and by whom (as a

jury   might     conclude   that      a    witness   might      not    have   lied   to

investigators if Howard was in fact innocent), and to damages (as

one who is wrongfully convicted may suffer the pain of knowing his

incarceration is factually unwarranted).                   See Parish v. City of

Elkhart, Ind., 702 F.3d 997, 1003 (7th Cir. 2012) (overturning

damages award in a wrongful conviction case because the district

court “improperly limited the introduction of evidence relating to

[plaintiff’s] innocence, and that evidence was critical to the

damages issue.”); Sanford, No. 17-13062, 2021 WL 1208888, at *2

(in § 1983 case, finding evidence of plaintiff’s settlement with

state under Wrongful Imprisonment Compensation Act “relevant to

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both liability and damages in any wrongful prosecution case where

the factual premise of actual innocence remains in dispute”);

Kluppelberg v. Burge, 84 F. Supp. 3d 741, 746 (N.D. Ill. 2015)

(finding    certificate    of   innocence    admissible   as   relevant     to

neutralizing unfair prejudice to plaintiff and as to damages) .

      The    persuasive    value    of     the   pardon   is   undoubtedly

significant.    The pardon of innocence represents the conclusion of

the governor of North Carolina, the chief executive of the state,

that Howard is in fact innocent.6         A jury will presumably be moved

by this evidence, and likely to a significant degree.          As a result,

there is a legitimate risk of the jury supplanting its decision

with that of the governor.

      Having carefully considered these arguments, the court finds

that evidence of innocence is relevant to aspects of Plaintiff’s

proof burden and that evidence of the fact of the pardon bears


6 The court need not resolve the full scope of the governor’s pardon
power and that scope vis-à-vis the NCIIC or any regulations the North
Carolina General Assembly might enact. The pardon power is expressly
set out in the North Carolina Constitution, and it is broad. See State
v. Clifton, 481 S.E.2d 393, 399 (N.C. App. 1997) (“The North Carolina
Constitution provides the governor with the exclusive prerogative to
issue pardons.”). However, the North Carolina Constitution reads: “The
Governor may grant reprieves, commutations, and pardons, after
conviction, for all offenses (except in cases of impeachment), upon such
conditions as he may think proper, subject to regulations prescribed by
law relative to the manner of applying for pardons.” N.C. Const. art.
III, § 5(6) (emphasis added). There is scant case law interpreting the
“subject to” clause.    A recent North Carolina Court of Appeals case
points to two statutes that “arguably fall” within that clause, including
N.C. Gen. Stat. § 147-21, although it did not expressly decide the issue.
See News & Observer Pub. Co. v. Easley, 641 S.E.2d 698, 704 (N.C. App.
2007).


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some   relevance     to the overall procedural history of Howard’s

criminal justice experience.              The probative effect of the pardon’s

conclusion that Howard is “innocent” of the crimes charged must be

weighed    against      the    possibility            that    it     is     substantially

outweighed     by     the     danger      of      unfair      prejudice,       confusion,

misleading the jury, and unwarranted side litigation over the

clemency office’s process itself for Howard’s pardon.                               Fed. R.

Civ. P. 403.        Here, Defendants cite to cases precluding findings

by a governmental agency or court.                 See, e.g., Martin v. Cavalier

Hotel Corp., 48 F.3d 1343, 1357-58 (4th Cir. 1995) (affirming the

district court’s decision that evidence from a report prepared by

the Virginia Employment Commission was inadmissible because of

“the prejudicial effect such an official report might have on the

jury.”);   Carter     v.    Burch,     34      F.3d    257,    265   (4th     Cir.    1994)

(affirming the exclusion of a judicial opinion because it “decided

the precise issue before the jury” and its probative value was

substantially       outweighed       by     its       prejudicial         effect,    noting

“[j]udicial findings of fact ‘present a rare case where, by virtue

of their having been made by a judge, they would likely be given

undue weight by the jury.’” (quoting Nipper v. Snipes, 7 F.3d 415,

418 (4th Cir. 1993)).           These cases are not on point, however,

because they involved evidence to resolve the precise question

before the jury, whereas Howard’s guilt or innocence is not an

element of the claims in the present case.

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     The court is therefore left with two options.            On the one

hand, it can preclude evidence of the pardon, as Defendants urge,

in which case the jury may conclude, even with a proper limiting

instruction, that Howard is in fact guilty of murder and arson --

a conclusion at odds with the governor’s pardon that declares him

legally innocent.    See, e.g., State v. Keith, 63 N.C. 140, 143

(N.C. 1869) (“The effects of a pardon are well settled in law: as

far as the State is concerned, they destroy and entirely efface

the previous offence; it is as if it had never been committed. .

. . [I]t is ‘a remission of guilt,’ not only of the punishment of

guilt.”) (citation omitted); see Jenkins v. Collard, 145 U.S. 546,

556 (1892) (“As repeatedly affirmed by this court, pardon and

amnesty in legal contemplation not merely release offenders from

the punishment prescribed for their offenses, but obliterate the

offenses themselves.”).    Even mention of the pardon alone, without

reference in some way to Howard’s innocence, might lead jurors to

conclude that Howard was guilty but granted a reprieve of sentence.

See State v. Clifton, 481 S.E.2d 393, 400 (N.C. Ct. App. 1997)

(stating: “In North Carolina a governor may issue two types of

pardons: A pardon of innocence, a full pardon; and a pardon of

forgiveness, a conditional pardon” and adopting the view of other

courts that “the prior offense was blotted out and its consequences

removed by the full pardon” i.e. by a pardon of innocence.) ; Byrum

v. Turner, 171 N.C. 86 (1916) (stating that “[w]hen a full and

                                   18



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absolute pardon is granted it exempts the recipient from the

punishment    which    the    law    inflicts”).          Exclusion   thus   risks

substantial prejudice to Howard and the potential of having the

jury be misled.

     On the other hand, the court can admit evidence of the pardon.

While doing so would risk prejudicing Defendants, it would prevent

the jury     from assuming,         wrongly,   in   the    face   of Defendants’

arguments    of continuing guilt that the dismissal of Howard’s

charges and decision not to retry him was based on some kind of

technicality, passage of time, or witness unavailability such that

he remains potentially responsible for the murders and arson.                   It

would also permit the jury to focus on the central question of

whether at the        time   of   Defendants’ initial         investigation and

Howard’s trial the Defendants falsified evidence, as alleged.

While there is a risk that the weight of the governor’s pardon

could be substantial, admission with a proper limiting instruction

addressing that risk is preferable to excluding the pardon where,

no matter what instruction is given, Defendants will invite the

jury to conclude that Howard remains guilty of the offenses in an

effort to absolve themselves of liability.                    Newsome, 2002 WL

548725, at *6 (concluding that precluding evidence of pardon would

have invited jurors “to draw the impermissible inference that [the

plaintiff] was actually guilty, and, thus, absolve defendants of

any misconduct,” and requiring limiting instruction).

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      While evidence of the pardon of innocence should be admitted,

the court notes that the pardon expressly references the finding

of factual innocence in the December 2016 Order.7              The court has

already    held   this   to   be   inadmissible,   and   the   parties   have

represented that they have agreed not to put it before the jury.

To allow it via the pardon would allow through the back door that

which is not permitted through the front.

      Accordingly, as to all motions related to the pardon (Docs.

161, 186, and 210) the court will permit reference to the pardon


7By law, pardon applications must contain grounds for relief, presumably
to ensure the governor has before him or her actual evidence of innocence
during the pardon process. See N.C. Gen. Stat. § 147-21 (noting every
pardon application “shall contain the grounds and reasons upon which the
executive pardon is asked”). Here, Howard’s pardon application contained
an application from his post-conviction attorneys, a copy of his original
indictment and judgment, and a copy of Judge Hudson’s 2016 Order. (Doc.
211-2.)    The application letter that Howard’s counsel sent to the
governor urged:
      In August 2016, exonerating post-conviction DNA testing and
      other newly discovered exculpatory evidence definitively
      proved his [Howard’s] innocence, and the Senior Resident
      Superior Court Judge of Durham County overturned Mr. Howard’s
      conviction and ordered his immediate release. In doing so,
      the Court made an explicit and unequivocal finding that Mr.
      Howard was factually innocent.
(Doc. 211-2 at 3 (emphasis added).)      While it is unclear what other
evidence, if any, Governor Cooper may have relied upon in issuing
Howard’s pardon, as Howard’s counsel represented at the hearing on this
motion that the nature of the governor’s investigation is “secret,” what
is clear is that the pardon expressly relies on the dicta in the December
2016 Order:
            WHEREAS, in an order entered on December 1, 2016 Durham
      County Superior Court Judge Orlando F. Hudson, Jr., concluded
      as a matter of law that the existence of the newly discovered
      DNA evidence favorable to Howard showed that he is factually
      innocent and ordered that Howard’s convictions be vacated,
      granted Howard’s motion for a new trial, and released him
      from prison; . . .
(Doc. 189-2 at 2.) For the reasons already noted, this reference to the
December 2016 Order’s findings shall be precluded.

                                      20



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of    innocence   subject    to   the    parties’    filing    of   supplemental

briefing by November 5, 2021, not to exceed 5 pages, as to how the

pardon is to be characterized.               Reference to the December 2016

Order’s finding of “factual innocence,” whether in the pardon or

otherwise, will be precluded.           The parties’ motions are granted in

part and denied in part, accordingly.

       B.    Charles Drago

       Defendants    move   to    exclude     the   report    and   testimony   of

Howard’s police practices expert, Charles Drago.                     (Doc. 147.)

Defendants argue that Howard’s counsel “wrote significant material

portions of Drago’s report” and therefore Drago did not provide

substantial participation in preparing his report as required by

Rule 26(a) of the Federal Rules of Civil Procedure.                 (Id. at 2-3,

¶¶ 3, 6.)     Howard argues that the report-writing process meets the

requirements of Rule 26(a) because, while counsel typed the report,

Drago substantially participated in the drafting process and the

report reflects Drago’s expert opinions because Drago “reviewed,

edited, and ultimately signed” the final report.                (Doc. 208 at 1,

10.)

       Federal Rule of Civil Procedure 26(a)(2)(B) provides that the

disclosure of expert witnesses “must be accompanied by a written

report -- prepared and signed by the witness.”                      The advisory

committee notes clarify that this Rule “does not prec lude counsel

from providing assistance to experts in preparing the reports, and

                                        21



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indeed, with experts such as automobile mechanics, this assistance

may be needed.     Nevertheless, the report, which is intended to set

forth the substance of the direct examination, should be written

in a manner that reflects the testimony to be given by the witness

and it must be signed by the witness.” Fed. R. Civ. P. 26(a)(2)(B)

advisory committee note to the 1993 amendments.

       Courts have interpreted Rule 26 to bar counsel from “ghost

writing” an expert’s report.           “Ghost writing a testifying expert’s

report is the preparation of the substance writing of the report

by someone other than the expert purporting to have written it.”

Trigon Ins. Co. v. United States, 204 F.R.D. 277, 291 (E.D. Va.

2001).    The key question is “whether counsel’s participation so

exceeds the bounds of legitimate assistance as to negate the

possibility that the expert actually prepared his own report.”

Numatics, Inc. v. Balluff, Inc., 66 F. Supp. 3d 934, 942 (E.D.

Mich. 2014) (citation            and internal quotation marks omitted)

(excluding report where expert spent less than 30 hours on the

report, the majority of which was travel time; parts of the report

were copied verbatim from other filings; the expert did not appear

to understand legal terms; and testimony indicated the attorney

drafted   the    report    and   the    expert   made   only   “fairly   minor”

changes); cf. United States v. Kalymon, 541 F.3d 624, 637 (6th

Cir.   2008)    (finding   “nothing      inherently     nefarious”   about   and

opting not to exclude reports where “experts explain that they

                                         22



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told   Government    counsel   their    substantive     opinions,   and   then

counsel reduced those opinions to writing for the experts’ review

and signature.”).

       Here, as Defendants have pointed out, the writing style, tone,

and language of Drago’s report in this case parallels that of a

different expert’s report in another similar wrongful conviction

case in which Howard’s counsel were involved, while it is notably

dissimilar    from   reports   Drago    has   written    in   similar     cases

involving different counsel.       (Doc. 148 at 13-17.)        In the main,

it reads more like a brief, with hyperbolic phrases, than an expert

report.    Here are a few examples:

       The case record includes a number of extraordinary
       admissions from Dowdy demonstrating that Dowdy engaged
       in egregious deviations from minimally acceptable police
       practice. (Doc. 208-2 at 5.)

       Indeed, Dowdy’s statement that there was no evidence
       indicating that the perpetrator had raped the victims is
       an astounding statement for an experienced sex crimes
       investigator to make given the overwhelming amount of
       evidence in this case. (Id. at 11)

       Dowdy engaged in blatant deviations from minimally
       acceptable police practice by failing to document many
       of the investigative steps he claims he took in this
       case. (Id. at 6.)

       There is ample evidence in the record indicating that
       Dowdy systematically failed to document exculpatory and
       impeachment evidence. (Id. at 25)

       The complete lack of documentation regarding the
       investigation into Nishonda’s whereabouts and the
       alleged boyfriend would be a serious “red flag” for any
       minimally competent police supervisor suggesting that
       Dowdy may have misrepresented his investigation . . . To

                                       23



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     the extent Dowdy did misrepresent his investigation, he
     engaged   in  an egregious    violation   of minimally
     acceptable police practice. (Id. at 13)

     {T]there are massive contradictions in the             witness
     statements implicating Howard. (Id. at 18)

     [T]here is also evidence indicating that Dowdy may have
     engaged   in  direct   suggestion   during   the   photo
     identification procedure . . . which not only would have
     tainted the reliability of any photo identifications
     made during that procedure but also constituted
     egregious misconduct. (Id. at 18)

     Dowdy’s admitted conduct is an egregious departure from
     minimally acceptable police practice and DPD [Durham
     Police Department] policy. First . . . misrepresenting
     the circumstances of a witness interview at trial and to
     the prosecutor — as the undisputed evidence shows Dowdy
     did here — is egregious police misconduct.        Dowdy’s
     failure to disclose that over 30 minutes of his interview
     with Southerland took place off tape is inexcusable and,
     as discussed further below, constitutes not only a
     potential Brady violation for failure to document and
     disclose impeachment evidence, but also raises concerns
     regarding    fabrication     of    evidence,    if    the
     misrepresentations were intentional. (Id. at 20)

     More troubling, billing records provided by Howard’s counsel

reflect that up to the date of his report Drago devoted a total of

37.25 hours to the case.     (Doc. 148-8 at 2.)      And yet his report

is over 30 single-spaced pages, and he claims to have reviewed

some 6,000 pages of documents in advance of preparing it.             (Doc.

148-3 at 6-38.)   All these factors strongly suggest that Howard’s

counsel wrote significant portions of the report.

     When asked who prepared his report, Drago testified at his

deposition, “I prepared the report.”       (Doc. 208-4 at 66.)        When

asked more specifically who actually prepared it, however, he

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stated: “what we did was -- what I did was I gave my opinions to

[Howard’s counsel].    We talked about the opinions.        I wrote some

things down.   She wrote some things down that I had said.       I edited

it.   I reviewed it and edited it, finalized it and so forth, sent

it back, and it was finalized.”      (Id. at 66-67.)     Drago confirmed

that he spoke with Howard’s counsel and “shared [his] opinions

about what [he] had reviewed.”      (Id. at 67.)     When asked whether

counsel then prepared the written report and sent to him, Drago

responded: “So she put down -- she listed some of the things that

I had said.    I added some things.       I did edits on some of the

things that [counsel] sent me, and comprised that, and so forth,

and made sure that that was what we had discussed, and finalized

it and sent it back, and that was the way it was produced.”          (Id.)

Beyond this, however, the court’s ability to understand whether

Drago actually substantially prepared the report is limited, as

Howard’s counsel instructed Drago not to answer further questions

designed to learn more about Drago’s actual role, such as who

actually typed the report.     (See, e.g., id. at 67-68.)

      One who instructs a witness not to answer in this district

should tread lightly.     The Local Rules of this court, which all

admitted lawyers attest they have read and will follow, limit the

bases on which counsel can direct a witness not             to answer a

question posed during a      deposition    to   either   privilege   or a

limitation on evidence directed by the court.            See Local Civil

                                   25



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Rules,                                L.R.                              30.1,

https://www.ncmd.uscourts.gov/sites/ncmd/files/2021_June_21_CIVR

ulesEffective.pdf (last accessed November 1, 2021).                Otherwise,

the proper procedure is to lodge an objection and, if the inquiring

counsel wishes to proceed, adjourn the deposition as to those

topics and seek a protective order. See Redwood v. Dobson, 476

F.3d 462, 467-68 (7th Cir. 2007) (noting “counsel for the witness

may halt the deposition and apply for a protective order, see Rule

30(d)(4), but must not instruct the witness to remain silent.”);

Johnson v. Statewide Investigative Services, Inc., 2021 WL 825653

at *3 (N.D. Ill. 2021) (instructing that if an attorney wanted to

object to questioning during a deposition on grounds other than

privilege, he “could have ‘halt[ed] the deposition and appl[ied]

for a protective order.’” (quoting Redwood, 476 F.3d at 467 (7th

Cir. 2007)).

       Howard has not identified any privilege applicable to Drago’s

expert report.         Rather, by virtue of a 2010 amendment, Rule 26

offers protection as to certain aspects of an expert’s report,

such    as    actual    drafts   of   the    expert’s   report   and   certain

communications between the expert and counsel.             See Fed. R. Civ.

P. 26(b)(4)(B) and (C) and advisory committee note.              But the rule

does not exclude all inquiry into the substance of preparing the

report.      For example, the rule expressly allows a party to inquire

as to “facts or data that the party's attorney provided and that

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the expert considered in forming the opinions to be expressed” as

well as “assumptions that the party's attorney provided and that

the expert relied on in forming the opinions to be expressed.”

Fed. R. Civ. P. 26(b)(4)(C)(ii) & (iii).           And just as the attorney-

client privilege does not prevent inquiry as to matters outside

the contents of a communication (such as the date, place, and

length of a communication), see Spilker v. Medtronic, Inc., No.

4:13–CV–76–H, 2015 WL 1643258, at *6 (E.D.N.C. Apr. 13, 2015)

(permitting disclosure of date, author, recipient, etc.); Vaughan

v. Celanese Americas Corp., No. 3:06CV104–W, 2006 WL 3592538, at

*3 (W.D.N.C. Dec. 11, 2006) (same), Howard has not identified any

basis for precluding inquiry into similar topics relating to the

preparation of an expert report.           Cf. Powerweb Energy, Inc. v.

Hubbell Lighting, Inc., No. 3:12-cv-220, 2014 WL 655206, at *4 (D.

Conn. Feb. 20,    2014) (rejecting plaintiff's argument             that   an

expert's emails constituted draft reports); In re Application of

the Republic of Ecuador, 280 F.R.D. 506, 513 (N.D. Cal. 2012)

(finding   that    notes,     task        lists,     outlines,   memoranda,

presentations and letters drafted by a testifying expert and his

assistants did not constitute draft reports).

     Rule 26(b)(4)’s protection, akin to that of attorney work

product protection, is similarly not boundless.            An attorney acts

within her proper role when she assists the expert in preparing

the report by providing editorial guidance.              But counsel cannot

                                     27



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provide or change the substance of an opinion with impunity.

“[W]hen the record reveals the lawyer may have commandeered the

expert's function or used the expert as a conduit for his or her

own theories,” the rule’s protection cannot be used as a “shield

against inquiry into the extent to which the lawyer’s involvement

might have affected, altered, or ‘corrected’ the expert’s analysis

and conclusions.”    Gerke v. Travelers Cas. Ins. Co. of Am., 289

F.R.D. 316, 328 (D. Or. 2013).      And while each case turns on its

own facts, an expert’s statement that the report, as written, is

now his because he adopted and signed it does not prevent further

probing.   Id.

     Here, Defendants sought information as to who prepared the

initial draft of the report and who prepared follow-up drafts, and

counsel made clear he was not seeking information as to the

contents of the drafts.       (Doc. 208-4 at 67:25-68:6) (“I'm not

asking about the content of the drafts.        I'm asking about who is

responsible for the preparation of the draft and how it goes from

a draft to this report that's been presented in this case.            I'm

just trying to find out who is preparing the report.”).)                  The

problem here is that while Howard’s counsel seemingly violated

this court’s local rules in instructing Drago           not to answer,

Defendants did not make a proffer or specifically indicate the

range of questions they intended to ask. Instead, they represented

they had “further questions . . .        about the process,” to which

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Howard’s counsel stated she would “continue objecting on that

basis.”    (Doc. 148-1 at 192:15-193:21.)       Thereafter, Defendants

moved on to other questions but did not move to compel discovery,

and the discovery period is now closed.

     Howard’s counsel argues that they have met the disclosure

requirements in Rule 26, which serve primarily to give notice to

opposing counsel of the expert’s opinions so counsel can adequately

prepare for trial and avoid unfair surprise.          (Doc. 208 at 9.)

Maybe.    But that is beside the point and begs the question whether

the opinions are truly those of the expert, as required by Rule

26(a)(2)(B).

     No matter how one views it, the record raises the disquieting

specter of excessive lawyer involvement and only serves to fuel

public skepticism of the proper role of lawyering.            Aspects of

Drago’s report are troubling.       There is a strong inference that

Howard’s    counsel     wrote   material   portions   of    the   report,

particularly given its tone and style, as it reads more like a

lawyer’s brief.       But the witness claims he provided opinions to

counsel, who organized and articulated them in the final report.

In the absence of any additional indication, the court cannot say

that the report does not contain Drago’s opinions as he expressed

them to counsel.      Cf. McClellan v. I-Flow Corp., 710 F. Supp. 2d

1092, 1127 (D. Or. 2010) (finding that counsel’s involvement in

drafting the expert report “approache[d] the outer limits                 of

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acceptable assistance” but acknowledging that such involvement

“may   undermine    its    weight   and     credibility”);     In   re    Asbestos

Products Liability Litigation (No. VI), 714 F. Supp. 2d 535, 542

(E.D. Pa. 2010) (declining to strike testimony of the expert

because although counsel drafted the supplemental report,                        the

expert had previously provided opinions to counsel).                However, any

expert witness who is seemingly content with such an arrangement,

as evidenced by the relatively little time spent in preparation in

view of the work claimed to have been performed, will suffer the

consequences of cross examination.              And rightly so.            Sunbeam

Products, Inc. v. Homedics, Inc., 670 F. Supp. 2d 873, 883-84 (W.D.

Wis. 2009) (finding that, while expert’s report was not wholly

ghost-written and expert testified he had reached all his opinions

stated in the report, the process raised credibility issues for

the jury).      Had Defendants properly sought court intervention

during the discovery period, the court may have reached a different

result.    But justice is invoked, not dispensed.              And Defendants’

failure to seek a remedy during the discovery period in order to

develop a better record requires that they now hurdle the high bar

of exclusion under Rule 26(a)(2)(B), which they have not done.

Let    there   be   no    doubt,    however:    any   lawyer    who      seeks    to

substantially prepare expert reports in the fashion noted here

risks not only exclusion of the expert’s testimony, but sanctions

by the court.

                                       30



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     For these reasons, the motion to preclude Drago’s report and

testimony   will   be   denied.   The     court   will,   however,   permit

Defendants substantial leeway to cross examine Drago at trial on

the process of his reaching his opinions in accordance with Rule

26, as it relates to his credibility.

     C.     Dr. Marilyn Miller

     Defendants move to exclude the report (Doc. 250) and testimony

of Marilyn Miller, Ph.D., Howard’s crime scene expert. (Doc. 149.)

Although    they   conflate   their     arguments   in    their   briefing,

Defendants present two primary grounds for exclusion: 1) a charge

that Miller’s report, in similar fashion to that of Drago, was

effectively ghost written by Howard’s counsel such that she did

not substantially participate in the report’s creation as required

by Federal Rule of Civil Procedure 26(a); and a Daubert/Rule 702

challenge, contending that Miller’s testimony is not reliable

because it is not supported by the evidence.

     As to the first argument, Rule 26(a)’s requirements are not

merely technical but exist in part to ensure the expert’s opinions

are her own, and that the expert is not a hired gun who “merely

express[es] the opinions of the lawyers who hired” her.              Trigon,

204 F.R.D. at 294.      Such latter opinions would not be helpful to

the trier of fact.      See Fed. R. Evid. 702.

     Here, the record suffers from the same limitations as with

expert Drago; namely, Howard’s counsel frequently objected during

                                   31



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Miller’s    deposition     to    defense    counsel’s      questions    about   the

process of creating the report and directed Miller not to answer.

Unfortunately,       as   with   Drago,     there    was   also   no    subsequent

resolution of the dispute through a motion to compel.                     However,

what   record     evidence that     does     exist   is    troubling.      At   her

deposition, Miller stated that she merely gave a “template” of her

report to Howard’s counsel.         In relevant part, she testified:

       Q. Well, Mr. [Drago] testified that he had a conversation
       with the Plaintiff’s lawyers. Then they prepared a report
       and sent it to him. Was that done in this case?

       A.   No.

       Q.   Did you actually type up your report?

       A.   I have a template that I will often use for affidavit
       purposes. And then also -- so that part was written. And
       then we had a general conversation over the phone where –-

       Q.   And I don’t want to know the details of it.

       A. Okay. That was the beginning of the interaction with the
       attorneys.

       Q. And so in the template that you provided to the attorneys
       for Mr. Howard, did that contain any opinions that you had
       formulated in this case?

       A.   No.

       Q.   And --

       A. What it did was it gave the outline of how I normally
       prepare affidavits. And that didn’t necessarily follow civil
       guidelines.

(Doc. 149-1 at 54:16-55:14.)               At this point, Howard’s counsel

objected “to any further inquiry” and instructed Miller not to


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answer questions, including the following:

     So the affidavit, when it came back to you, did it
     contain opinions about this case? (Id. at 56:2-3.)

     So to just clarify, the template for your report, you
     sent that to Mr. Howard’s attorneys. And when you sent
     that, it did not contain any of your opinions in this
     case, correct? (Id. at 56:20-24.)

     The template that you provided to Plaintiff’s Counsel,
     was that returned to you with opinions that you
     ultimately have adopted? (Id. at 57:20-22.)

     Now the report is dated July 31, 2019.      When did you
     send the template to Mr. Howard’s attorney? (Id. at 58:3-
     5.)

     Who did you send your template to?       (Id. at 58:12-13)

     When did you first receive your template back that
     contained any opinions that you have ultimately adopted?
     (Id. at 58:17-19.)

     In preparation of your report, the two references here,
     were they identified in the template of your report that
     you gave to Mr. Howard’s attorneys? (Id. at 63:12-15.)

     Further, Miller’s billing records indicate she spent a mere

2.5 hours on the case through the preparation of her report.        (Doc.

148-8 at 3.)     This negligible amount of time, combined with

Miller’s testimony that she gave a “template” that did not contain

any of her opinions to Howard’s counsel, strongly indicates that

Howard’s counsel actually prepared Miller’s report.

     In response, Howard relies heavily on the fact that, before

she was retained for this case, Miller was retained by Howard’s

post-conviction counsel and testified at his August 2016 post-

conviction DNA hearing. In preparation for that prior work, Howard

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says, Miller reviewed many of the same materials.                          Howard argues

that, in the present case, Miller is “offer[ing] some of the same

opinions       she     had    already     reached    and       testified      to    during

Plaintiff’s post-conviction proceedings in 2016.”                           (Doc. 209 at

4.)      In    other    words,     Howard    says,    Miller         did   substantially

participate in the creation of the report because, three years

prior, she reviewed the same materials and gave the same opinions.

(See id. at 19-21 (“[I]t is beyond any dispute that Prof. Miller

had ‘prior substantive input’ in the opinions — again, because she

formulated the opinions and testified to them years before her

report    was    written.        Counsel’s    assistance        in    summarizing      the

opinions she had             already testified       to    —    before Prof. Miller

reviewed, edited, and signed the report under penalty of perjury

as accurately reflecting her opinions — is perfectly permissible

under Rule 26.”).)

      A careful review of Miller’s 2016 testimony and 2019 report

for this case does not fully support this contention.                        In her 2019

report,       Miller    offers    three     main    opinions:        1)    “the    evidence

collected and documented from the murders of Doris and Nishonda

Washington indicates that sexual assaults were committed on both

women at the crime scene close to the time of their deaths”; 2) “a

detective or crime scene investigator with minimal competence and

training based on minimally acceptable practices in crime scene

investigation in 1991 would have searched for evidence of s exual

                                            34



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assaults and perpetrator      DNA     at    the   scene   of   the     Washington

murders”; and 3) the “evidence from the crime scene does not

indicate that the fire was set primarily or for the sole purpose

of destroying the bodies and hiding evidence on the bodies.” (D oc.

250-1 ¶¶ 32-34.)

      Miller can fairly be said to have previously testified as to

the first opinion at the 2016 post-conviction hearing.                 When asked

by Howard’s post-conviction counsel at that hearing, “[D]o you

have an opinion as to whether a sexual assault took place in

connection   with   these   murders    at    this    crime     scene?”,      Miller

answered in the affirmative and testified, “[T]here was a sexual

assault committed at this crime scene.”              (Doc. 209-1 at 133:21-

134:2.)

      Miller did not directly testify to the second opinion in 2016.

The closest she comes is, when asked “do you have an opinion as to

whether the killers would have left DNA in and on these women?”,

she   responds   affirmatively   and       states,   “that     would    be    clear

evidence to look for.”      (Id. at 135:20-136:2.)             However, in the

context of the questioning, this opinion was offered to establish

that DNA was recovered from the Washingtons and that it excluded

Howard.   This, after-all, was the purpose of the 2016 DNA hearing.

She never testified that a detective with minimal competence and

training would have looked for evidence of sexual assault.                      Nor

would that have been likely since, unlike in this civil trial where

                                      35



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Dowdy is a Defendant, his competence was not an issue at the 2016

hearing.    What makes this a slightly closer call is that later in

that 2016 hearing, she did outline multiple actions that “could

have been done” by the investigators, including collecting the bed

sheet and searching it for fluids and hair, and she ultimately

stated that “imposing the standards that I used as a crime scene

investigator in the early ‘90s . . . I would have done more than

what was done here.”    (Id. at 153, 165, and 174.)

       As to the third opinion, when asked in the 2016 hearing why

the perpetrators would set the apartment on fire, she responded,

“To destroy any evidence that might be left and present, to disrupt

it.”    (Id. at 151:24-25.)    She stated that the Washingtons were

“found in this crime scene that is attempted to be disguised by

burning it down.”   (Id. at 146:24-25.)     Later she spoke about “the

fact that the scene has tried to be disrupted or destroyed with

the fire” (id. at 172:4-5) and stated, “I can say there was a

sexual assault, the victims were placed on this bed, there was a

fire started to attempt to obliterate it, based only on the

physical evidence I have” (id. at 174:10-13).       This 2016 testimony

refers to the destruction of the evidence, including the bodies

and the rest of the crime scene.        This is the natural reading of

Miller’s prior testimony that the fire was set “[t]o destroy any

evidence that might be left and present.”      (Id. at 151:24 (emphasis

added).)   Now, Howard contends that Miller’s opinion is that “that

                                   36



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no minimally trained crime scene investigator would conclude that

the fire was set for either of those purposes [“to destroy the

bodies or hide evidence].”     (Doc. 209 at 5.)

     Howard recognizes the inconsistencies between Miller’s 2016

and 2019 opinions.    His framing of Miller’s key opinions in 2016

and in 2019 reveal differences in them (Doc. 209 at 4), and he

contends that Miller was retained to provide “some” of the same

opinions she reached in 2016 (id.).

     To   compound   the   problem,    it    is   also   apparent   that   the

documents Miller reviewed prior to her 2016 testimony could not

have included the documents she says she reviewed for her 2019

report.     At the very least, four documents            were not even in

existence in 2016 -- the transcript of her own 2016 testimony,

Dowdy’s 2019 deposition transcript, Judge Hudson’s December 2016

Order vacating Howard’s conviction, and Howard’s              33-page (175

paragraph) complaint in this case.          These documents total some 500

pages of material alone, which Miller says she reviewed in the 2.5

hours she spent on the case through the preparation of her report.

(See Docs. 1, 87-2, 87-3, 209-1.)

     In sum, as with Drago, Miller’s report reveals substantial

concerns.   Despite counsel’s assertions before this court, both in

briefing and at the hearing, that Miller is merely reviewing the

same documents and repeating the same opinions as in 2016, the

record simply does not support this claim.               Miller provided a

                                      37



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“template” to Plaintiff’s counsel containing none of her opinions;

her billing records indicate she spent a total of 2.5 hours through

the preparation of her report; her report states she reviewed at

least four new documents that she would not have been able to

review prior to her 2016 testimony, totaling about 500 pages,

during these 2.5 hours; and her report contains opinions she did

not express in 2016.

     As the cases cited by Defendants indicate, once an expert

purports to have prepared and signed a report, the opponent bears

the burden   of proving    that   the   expert did not     substantially

participate in preparing it.      See Trigon, 204 F.R.D. at 295 (“The

burden of proving ghost writing rests with [the opponent of the

evidence].”); Manning v. Crockett, 1999 WL 342715, at *4 (N.D.

Ill. May 18, 1999) (denying a motion to exclude expert testimony

and noting that a renewed motion must be “accompanied by evidence

supporting the conclusion that [the expert] lacked significant

personal involvement in the preparation of his report”).         Based on

the record, the court finds that Defendants have met that burden

here as to Miller’s third opinion.

     Given that Miller testified as to her report’s first opinion

(Doc. 250-1 ¶ 32) both in 2016 and in 2019, and because she gave

similar testimony in 2016 as to the report’s second opinion, she

will be permitted to testify as to those opinions in this case.

Even though counsel drafted Miller’s report, counsel appears to

                                   38



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have done so by importing these earlier opinions – of which

Howard’s counsel was aware -- into the report, and Miller has

offered those as her own at this time.                 In this respect, the

opinion    can   fairly    be   said   to    be   Miller’s,   and   Howard   has

demonstrated      that    his   counsel’s      drafting   was   substantially

justified.       Indiana Ins. Co. v. Hussey Seating Co., 176 F.R.D.

291, 293 (S.D. Ind. 1997) (stating that “pursuant to [Federal]

Rule [of Civil Procedure] 37(c), a party’s failure to comply with

rule 26(a) results in an ‘automatic and mandatory’ exclusion of

expert testimony, unless the party to be sanctioned can show that

the violation was ‘justified or harmless.’”); Marek v. Moore, 171

F.R.D. 298, 302 (D. Kan. 1997) (considering ghost-writing under

Rule 37(c)(1)’s “substantial justification” or “harmless” test,

but finding it was not to an impermissible level).8

      However, Miller will not be permitted to testify as to her

third opinion.      (Id. ¶¶ 33-34.)         Not only did she not testify to

that opinion in 2016, which is the only basis now offered to

justify counsel’s drafting of the opinion portion of her report,


8 While these cases pre-date Rule 26’s 2010 amendment, some courts have
continued to apply a similar standard.     See, e.g., Harmon v. United
States, 2017 WL 4098742 (D. Md. 2017) (relying on Indiana Insurance
Company’s finding that the failure to comply with Rule 26 was
“harmless”); Mullen v. South Denver Rehabilitation, LLC, 2020 WL 6680358
(D. Co. 2020) (finding the same where counsel drafted a report after
substantive conversations with the expert). As the Fourth Circuit has
noted, “the basic purpose of Rule 37(c)(1) [is] preventing surprise and
prejudice to the opposing party.” S. States Rack & Fixture, Inc. v.
Sherwin-Williams Co., 318 F.3d 592, 596 (4th Cir. 2003).


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she testified to just the opposite.          Nor is there any indication

that she somehow communicated this new opinion to Howard’s counsel

in    advance.     Rather,    this opinion    must   have originated with

counsel.9    But even if it were later adopted by Miller, that would

not cure the defect.         See Manning v. Crockett, 1999 WL 342715, *3

(N.D. Ill. 1999) (noting that “preparing the expert’s opinion from

whole cloth and then asking the expert to sign it if he or she

wishes to adopt it” conflicts with Rule 26(a)(2)(B)); Tindall v.

H & S Homes, LLC, 2012 WL 3241885, *2 (M.D. Ga. 2012) (explaining

that an expert merely adopting a report prepared by counsel would

“clearly exceed the level of assistance contemplated by Rule 26.”).

       Defendants’ second argument is that Miller’s opinions are not

reliable under Federal Rule of Evidence 702.             Because the court

has excluded Miller’s third opinion, only the first and second

opinions will be considered as to this challenge.

       Rule 702 provides four requirements that a witness qualified

as an expert must meet in order to testify: (1) the expert’s

specialized knowledge will “help the trier of fact to understand



9 This is further evidenced by Miller’s difficulty explaining the basis
for this opinion during her deposition. For example, Miller’s report
concluded that the fire in the Washingtons’ apartment was not set to
destroy evidence and the evidence showed the victims’ clothes were
removed during the sexual assault. (Doc. 250-1 at ¶ 34.) At deposition,
however, Miller knew of no evidence indicating when the victims’ clothing
was removed (Doc. 149-1 at 74), admitted that she had no evidence to
conclude when the clothes were removed (id. at 113), and could not opine
on whether the victims were wearing clothes at the time the semen was
deposited (id. at 77.)

                                      40



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the evidence;” (2) the testimony has a sufficient factual basis;

(3) the testimony is the result of reliable methodologies; and (4)

the expert reliably applied the methodologies to the facts.            Fed.

R. Evid. 702(a)-(d). The “proponent has the burden of establishing

that   the   pertinent   admissibility     requirements   are    met   by   a

preponderance of the evidence” pursuant to Federal Rule of Civil

Procedure 104(a).     See Fed. R. Evid. 702 Advisory Committee notes

to 2000 amendment; Daubert v. Merrell Dow Pharmaceuticals, Inc.,

509 U.S. 579 (1993); Sardis v. Overhead Door Corp., --- F.4th ---

-, 2021 WL 3699753, at *8 (4th Cir. 2021) (noting that the Federal

Rule of Evidence Advisory Committee has recently stated that judges

must “apply the preponderance standard of admissibility to Rule

702’ requirements.”) (quoting Advisory Comm. on Evidence Rules,

Agenda for Committee Meeting 17 (Apr. 30, 2021).          Proponents need

not show by a preponderance that their experts are correct, but

rather that “their opinions are reliable.”         In re Paoli R.R. Yard

PCB Litigation, 35 F.3d 717, 744 (3d Cir. 1994); see also Daubert,

509 U.S. at 589 (1993).          Reliability is a “flexible” inquiry

focused on “the principles and methodology” used by the expert to

ensure   that   the   expert’s   opinion    is   “based   on    scientific,

technical, or other specialized knowledge and not on belief or

speculation.”    Daubert, 509 U.S. at 594-95; Oglesby v. Gen. Motors

Corp., 190 F.3d 244, 250 (4th Cir. 1999).

       Defendants argue that Miller’s opinions are not reliable

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because they are not supported by the evidence.               Her first and

second opinions are related.          Her first opinion is that “the

evidence collected and documented from the murders of Doris and

Nishonda Washington indicates that sexual assaults were committed

on both women at the crime scene close to the time of their deaths”

(Doc. 250-1 ¶ 32); and her second opinion is that a minimally

competent   crime   scene   investigator    “would    have    searched     for

evidence of sexual assaults and perpetrator DNA at the scene of

the Washington murders” (id. ¶ 33).        Defendants largely challenge

her conclusions that the sexual assaults were committed “at the

crime scene” and “close to the time of their deaths.”                (Doc. 150

at 9.)   They point out the following: Miller cannot identify when

the sperm/semen was deposited in the victims, as that is beyond

her expertise; Miller cannot say where either victim was at the

time of their sexual encounter, including in their apartment;

Miller cannot say whether either woman was clothed when the sexual

encounter took place; Miller cannot say when their bruises were

inflicted; Miller cannot place the physical trauma in relation to

the timing of the sexual encounters; Miller claims the presence of

cream-colored   fluid   found   in    Nishonda’s     vagina    was    “highly

suggestive” of a sexual assault and not consensual sex based on an

“association I am making” because of the bodies being found nude,

even though she conceded it could have come from a consensual act;

Miller does not dispute the testimony of Dr. Thompson, the medical

                                     42



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examiner, that there is no evidence the sperm found in Nishonda’s

anal cavity was deposited at the time of her death; and Miller

concedes that the sperm found in Nishonda’s anal cavity could have

drained from her vagina.        (Doc. 150 at 9-14.)

       Howard    responds     that   Defendants    misrepresent      Miller’s

experience, which is as a crime scene investigator who opines on

what a minimally-trained investigator would have done.              (Doc. 209

at 9-10.)       As to the first opinion, Howard contends that Miller

opines only that “the evidence indicates Doris and Nishonda were

sexually assaulted.”        (Id. at 11.)   Howard argues that “Defendants

misconstrue Prof. Miller’s opinion that the evidence indicates

that Doris and Nishonda were sexually assaulted for an opinion,

which she does not offer, that it definitively establishes that.”

(Id. at 12.)      Howard also notes that Miller relies on the totality

of the evidence, not any particular piece of it.            (Id.)    Finally,

Howard argues that the predicates for Miller’s opinions (such as

that the sperm in Nishonda was deposited within 24 hours of her

autopsy, and that the vaginal laceration in Doris was caused by an

object at or near her death), are set out by the medical examiner. 10


10 As to Nishonda, the medical examiner noted “examination of the external
genitalia reveals minimal erythema of the labia and of the mucosa of the distal
vagina. There is a moderate amount of cream-colored fluid within the vagina.”
(Doc. 87-18 at 2.)     The medical examiner also noted “no spermatozoa are
identified on examination of smears of the mouth and vagina. Spermatozoa heads
are identified in a smear of the anus.” Id. at 6. Miller combines the medical
examiner’s discovery of a cream-colored fluid in Nishonda’s vagina with his
finding that the anal smears revealed spermatozoa heads to conclude that “the
spermatozoa was deposited within 24 hours of the autopsy.”      (Doc. 250-1 at


                                      43



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(Id.)

       As a former crime scene investigator and current professor of

forensic science, Miller offers her opinion as to the evidence at

the crime scene of the Washington murders. (Doc. 149-1 at ¶¶ 32-

33.)    This opinion is relevant to the claim that Defendant Dowdy

both reported to prosecutors and testified at trial that there was

no evidence that either Doris or Nishonda was sexually assaulted

and that he never investigated the Washington murders as sexual

assaults.   Miller’s opinion as to what evidence would be important

to a crime scene investigator and why will assist the trier of

fact    to understand the     underlying evidence       of the Washington

murders to reach a conclusion about Dowdy’s subsequent actions in

investigating the crime.       As such, it is relevant under Rule 702.

Belville v. Ford Motor Co., 919 F.3d 224, 232 (4th Cir. 2019)

(noting that an expert’s opinion is relevant if it has “a valid

scientific connection to the pertinent inquiry”).

       But Howard’s explanation for how she articulates her first

opinion is unsatisfactory, as the standard for admissibility and

for liability in this instance is not “definitiveness,” but rather

a “preponderance.”      It is unclear whether by “indicates” Miller



¶ 32b.) As to Doris, the medical examiner stated at Howard’s 1995 trial that
“something would have had to have been placed inside the vagina … to [cause]
some pressure put upon it to cause that tear.” (Doc. 87-13 at 19-21.) Miller
claims that the medical examiner “concluded from autopsy that an object had to
have been inserted into Doris Washington’s vagina.”    (Doc. 250-1 at ¶ 32e.)
While the medical examiner did not state that in his autopsy report, he did
testify to that effect in Howard’s 1995 trial.

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means that the evidence “is consistent with” or “supportive of” a

sexual assault, or rather that “more likely than not” a sexual

assault occurred. If it is the latter, Miller has not demonstrated

by a preponderance that she has a sufficient factual basis for, or

applied a reliable methodology to render, a probability opinion.

As    Defendants   point   out,   there    are   simply   too    many   factual

questions Miller cannot answer.            For example, Miller’s report

concludes that the evidence from the Washington murders indicates

that sexual assaults were committed at the crime scene “close to

the time of their deaths.”            (Doc. 250-1 ¶¶ 32-34.)            In her

deposition, however, Miller was unable to identify how long the

sperm was deposited in either victim, admitted that any opinion as

to the time sperm was deposited was beyond her expertise, and does

not know where the victims were when the sperm was deposited.

(Doc. 149-1 at 69-71.)

       Thus, Miller may opine as to what a crime scene investigator

would have regarded to be important evidence and what steps should

have been taken to conduct the investigation.                   To the extent

Defendants argue that facts upon which Miller relies are either

disputed or unknown to her, that goes to the weight of her opinions

and is properly the subject of cross-examination.               See Bresler v.

Wilmington Tr. Co., 855 F.3d 178, 195 (4th Cir. 2017) (“[Q]uestions

regarding the factual underpinnings of the expert witness’ opinion

affect the weight and credibility of the witness’ assessment, not

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its    admissibility.”)      (alterations,    citation,    and   quotations

omitted).

       Accordingly, Defendants’ motion to preclude Miller’s report

and testimony is granted in part as to Miller’s first opinion,

denied as to her second opinion, and granted as to her third

opinion.

       D.    Dr. Moira Artigues

       In two separate motions, Defendants move to exclude certain

testimony from Dr. Moira Artigues, a psychiatrist designated by

Howard as an expert witness.        (Docs. 151, 153.)

       Defendants first move to preclude Dr. Artigues’s testimony

and report to the extent it purports to analyze or explain Howard’s

demeanor during his deposition or at trial.           (Doc. 151.)     Howard

opposes the motion.        (See Doc. 205.)      At the court’s direction

following the hearing on July 23, 2021, the parties conferred and

on July 30, 2021, submitted a joint filing that reports they have

resolved this motion.       (Doc. 255.)11    This motion (Doc. 151) will



11The parties have agreed that Dr. Artigues (1) may testify about the
symptoms of Post-Traumatic Stress Disorder (“PTSD”) and her observations
of how those symptoms were displayed during her personal interviews with
Howard, to the extent those observations are consistent with her report;
(2) may testify generally that she was provided and watched a copy of
Howard’s deposition testimony dated 10/01/2019 and she observed symptoms
during his deposition similar to those she observed in her personal
interviews with Howard; and (3) may not testify about or analyze any
particular testimony from Howard at his deposition or trial, and neither
Dr. Artigues nor Howard’s counsel may present or refer to any particular
testimony from Howard’s deposition or any particular testimony from
Howard while Dr. Artigues is testifying. (Doc. 255.)

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therefore be deemed moot.

       Defendants also move to exclude the report and testimony from

Dr. Artigues to the extent it states or implies “that she has

reached an expert conclusion through her examination of [Howard]

that [he] has suffered harm arising from the alleged ‘wrongful’

nature of his imprisonment as distinguished from harm that arose

from a lengthy period of incarceration generally.”                         (Doc. 153 at

1-2.)12     Defendants       do    not    contest     the     admissibility       of   Dr.

Artigues’s diagnosis of PTSD, nor do they contest Dr. Artigues’s

attribution of that condition to Howard’s incarceration.                          Rather,

they narrowly challenge the conclusion that the condition was

caused by his wrongful incarceration.

       This inquiry is governed by Federal Rule of Evidence 702, the

standards of which have already been set out. Defendants challenge

the reliability of Dr. Artigues’s opinions.                         “A reliable expert

opinion     must   be    based      on     scientific,        technical,     or     other

specialized     knowledge         and    not    on   belief    or    speculation,      and

inferences     must     be   derived       using     scientific       or   other    valid

methods.”     Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 200 (4th


12In this motion, Defendants also move to preclude the introduction of
testimony from Dr. Artigues that states or implies that Howard “has been
exonerated or adjudged innocent or . . . wrongfully convicted or
incarcerated.” (Doc. 153 at 1.) For the reasons stated earlier in this
opinion, Dr. Artigues shall not refer to any finding of “actual
innocence” in the December 2016 Order by the governor’s Pardon of
Innocence. As the parties agree, however, Dr. Artigues may opine based
on the assumption that Howard was wrongfully convicted, should a jury
so conclude. (Doc. 246 at 27.)

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Cir. 2001) (quoting Oglesby v. Gen. Motors Corp., 190 F.3d 244,

250 (4th Cir. 1999)).     To guide this “gatekeeping” function, the

Supreme Court has identified several non-exhaustive factors useful

for evaluating the reliability of proposed expert testimony, which

include:

     (1) whether a theory or technique can be or has been
     tested; (2) whether it has been subjected to peer review
     and publication; (3) whether a technique has a high known
     or potential rate of error and whether there are
     standards controlling its operation; and (4) whether the
     theory or technique enjoys general acceptance within a
     relevant scientific community.

Id. at 199 (citing Daubert, 509 U.S. at 592–94).             Howard must

establish the admissibility of Dr. Artigues’s testimony by “a

preponderance of proof.”     Id.   However, “[t]he trial court’s role

as a gatekeeper is not intended to serve as a replacement for the

adversary system.”     In Re Lipitor Mktg., Sales Pracs. & Prods.

Liab. Litig., 892 F.3d 624, 631 (4th Cir. 2018).          And while “the

holding of Daubert is as readily applicable in cases involving

psychologists as in those in which the proffered expert testimony

is of a more scientific nature,” United States v. Guild, No.

1:07cr404, 2008 WL 153764, *2 n.1 (E.D. Va. Jan. 14, 2008), courts

have also “recognized a particular need to employ a ‘flexible’

test in areas outside of the hard sciences,” Coal. for Equity &

Excellence in Md. Higher Educ. v. Md. Higher Educ. Comm'n, 295 F.

Supp. 3d 540, 551 (D. Md. 2017) (citing United States v. Simmons,

470 F.3d 1115, 1122–23 (5th Cir. 2006)).      Once an expert’s opinion

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crosses    Rule 702’s preponderance threshold, the         “conventional

devices”    of   “[v]igorous   cross-examination,      presentation       of

contrary evidence, and careful instruction on the burden of proof,”

are “the traditional and appropriate means of attacking shaky but

admissible evidence.”    Id. (quoting Daubert, 509 U.S. at 596).

     Defendants do not challenge Dr. Artigues’s qualifications and

do not contend her conclusion that Howard suffers from PTSD is

inadmissible.    (See Doc. 154 at 9.)    Rather, they contend that Dr.

Artigues has no basis to conclude that Howard suffered a particular

harm based upon his “wrongful” incarceration, (id.), and that she

did not conduct a differential diagnosis to exclude the effects of

incarceration generally from those of “wrongful” incarcerations,

(Doc. 237 at 3).    They further criticize the literature regarding

the effects of wrongful incarceration on which Dr. Artigues relied

because “without a comparison group of interviews with people who

were imprisoned who did not have their convictions overturned[,]

they provide no scientifically reliable basis to determine which

if any of those symptoms are unique to people whose convictions

were wrongful.”    (Id. at 4; Doc. 154 at 10-12.)       Howard responds

that Dr. Artigues reliably performed a differential diagnosis in

determining the cause of Howard’s PTSD and that the literature

upon which she relied, which has been published in peer-reviewed

journals, represents reliable qualitative research.         (Doc. 206 at

12-16.)

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       In her report, Dr. Artigues purports to conduct a differential

diagnosis in evaluating Howard.13              Specifically, she compares the

symptoms     she    observed   in   Howard      to    the   American     Psychiatric

Association’s        Diagnostic     and    Statistical        Manual     of   Mental

Disorders     (DSM-5)    criteria    for       PTSD   and   finds   he    meets    the

diagnostic criteria for that condition.                 (Doc. 152-1 at 14-15.)

She also eliminates other potential causative factors, such as his

early exposure to violence, by examining his prior mental health

examinations to determine the time of the onset of symptoms.                      ( Id.

at 12-13.)         Up to this point, Defendants do not challenge the

propriety of Dr. Artigues’s methodology.                (See Doc. 237 at 2-3.)

       Dr. Artigues then goes on to compare Howard’s symptoms with

those described in selected research literature regarding the

effects of long incarcerations on innocent individuals, concluding

that Howard has “suffered in the ways that the literature regarding

exonerees has shown.”14        (Doc. 152-1 at 16-19.)           For example, Dr.




13 A differential diagnosis is “a standard scientific technique of
identifying the cause of a medical problem . . . by determining the
possible causes for the patient's symptoms and then eliminating each of
these potential causes until reaching one that cannot be ruled out or
determining which of those that cannot be excluded is the most likely.”
Westberry v. Gislaved Gummi AB, 178 F.3d 257, 262 (4th Cir. 1999).

14Defendants have not argued that Artigues is improperly bolstering her
opinion by so testifying nor is it apparent precisely how Artigues
intends to present such testimony, so the court does not consider that
potential issue. United States v. Tran Trong Cuong, 18 F.3d 1132, 1144
(4th Cir. 1994) (stating that an expert may not bolster the reliability
of his own opinion by testifying about a non-testifying expert witness’
credentials and opinion).

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Artigues states that Howard has an “exaggerated sense of fairness”

that is accompanied by profound mistrust of others — so much so

that he quit his job because he discovered a coworker was paid

less than he was; fears being out in public because of the feeling

of    notoriety     those     wrongfully    incarcerated      have    because       they

believe everyone knows who they are; questions reality as those

wrongfully accuse start to believe they must have committed the

crime others say they have committed; has lost members of his

family while incarcerated both due to death and because people

perceive him as a criminal and distance themselves away from him;

suffered physical and psychological deterioration; struggled with

reentering society; and fears interaction with law enforcement

because     they    might     wrongfully    accuse    him    again.         Defendants

challenge this conclusion.

       Dr. Artigues is certified by the American Board of Psychiatry

and Neurology in both General and Forensic Psychology and is a

current member of the Psychiatry and Law Committee of the North

Carolina Psychiatric Association.                (Doc. 154-1 at 2.)              She has

extensive experience working with incarcerated populations and

conducting examinations for the purpose of litigation.                      ( Id.)    In

preparing her report, she met with Howard for examination and

interviews on five occasions over eight months.                  ( Id.)      She also

interviewed        one   of   Howard’s     life-long      friends     and    reviewed

multiple     documents,        including        filings     pertinent       to     these

                                           51



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proceedings, including Howard’s medical records from his time both

within and outside of prison.          (Id. at 2-3.)

       In concluding that Howard suffers PTSD as a result of his

wrongful incarceration, Dr. Artigues’s report relies on a body of

peer-reviewed research literature that                examines   and discusses

commonalities     in    the   mental   health    of   individuals   wrongfully

incarcerated.     While at least one article discusses, tangentially,

how such populations compare with other incarcerated individuals,

see Leslie Scott, “It Never, Ever Ends”: The Psychological Impact

of Wrongful Conviction, 5 Am. U. Crim. L. Br. 10, 13 (2010),

Defendants are correct that no study systematically compares these

groups.15     Even     so, the court     finds    Dr. Artigues’s testimony

relevant and reliable.          There is no indication that the peer-

reviewed literature on this issue is unreliable in its evaluation

of    the   symptoms    of    the   wrongfully    incarcerated;     certainly,

Defendants provide no such evidence.             See also Daubert, 509 U.S.

at 594 (finding that reliability is enhanced if the research is

“subject[ed] to the rigors of peer review and publication” ).              The


15The other studies relied upon by Dr. Artigues are as follows: Kathryn
Campbell & Myriam Denov, The Burden of Innocence: Coping With a Wrongful
Imprisonment, 46 Canadian J. Criminology & Crim. Just. 139 (2004);
Kathryn Campbell & Myriam Denov, Miscarriages of Justices: The Impact
of Wrongful Imprisonment, 13 Just Rsch. (2014); Adrian Grounds,
Psychological Consequences of Wrongful Conviction and Imprisonment, 46
Canadian J. Criminology & Crim. Just. 169 (2004); Adrian Grounds,
Understanding the Effects of Wrongful Imprisonment, 32 Crime & Just. 1
(2005); Saundra D. Westervelt & Kimberly J. Cooke, Framing Innocents:
The Wrongly Convicted As Victims of State Harm, 53 Crime Law & Soc.
Change 259 (2009).

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lack of a control group alone does not warrant exclusion here.

See United States v. Batiste, No. 06-20373-CR, 2007 WL 5303052, at

*5 (S.D. Fla. Oct. 26, 2007) (“[A]lthough there is no control group

in the radicalization process, there is an existing data field for

the   radicalization   process,   as    well   as   a    consensus     in    the

literature regarding the validity of this process.”). Dr. Artigues

has significant experience and qualifications, has conducted a

sufficient examination of Howard and the other relevant sources,

and has come to her conclusion based upon both the peer-reviewed

literature and her expert judgment.

      In light of the above, Dr. Artigues may testify, based on her

own observations, professional judgment, and familiarity with the

peer-reviewed   literature,     that    Howard’s        PTSD    symptoms     are

consistent with those observed by other researchers in wrongfully

incarcerated    populations.        She    has      demonstrated,       by     a

preponderance, that her opinion will assist the trier of fact and

is based on sufficient facts and data.         Moreover, she has applied

the standards set out in the DSM-5, which are reliable, and

reliably applied them here to Howard’s situation.              Notably, she is

not attempting to parse out attribution of any PTSD symptoms, but

rather is merely opining that Howard’s symptoms are “consistent

with” those of individuals wrongfully convicted.                To the extent

Defendants contest the rigorousness of the underlying studies on

which she relies, as well as the bases for her opinion, these

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challenges are properly the subject of cross-examination.                    See

also Westberry v. Gislaved Gummi AB, 178 F.3d 257, 265 (4th Cir.

1999) (finding that doctor’s explanations as to conclusions not

ruled out related to the opinions’ weight and not admissibility).

For this reason, Defendants’ motion is denied.

       E.    Suzanna Ryan

       Howard   moves    to   exclude   testimony   from   Suzanna    Ryan,   a

forensic DNA consultant designated by Defendants as an expert

witness.     (Doc. 155.)      In substance, Ryan, who holds a bachelor of

science degree in biology and a minor in chemistry, and who has

over 20 years’ experience in forensic serology and DNA analysis,

testifies     to   the   likelihood     that   Doris   Washington’s    sexual

activity did not occur in close proximity to her death.16

       Howard’s principal challenge is the reliability of Ryan’s

conclusion      regarding     time   since   intercourse   (“TSI”)    between

Jermeck Jones and Doris Washington.            Ryan’s report concluded, in

relevant part, “In my opinion, the lack of AP [acid phosphatase]

activity, combined with the fact that there are likely only a very

few sperm cells present in the vaginal swabs, is an indication

that sexual activity between Jermeck Jones and Doris Washington



16Ryan agrees with Howard’s expert, Meghan Clement, that given the sperm
present on the vaginal smear from Nishonda Washington, “sperm ‘would
have been deposited less than 24 hours prior to her time of death’, thus
making it more likely than not that the sexual contact was recent.”
(Doc. 207-1 ¶ 8.)


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likely occurred several days prior to the vaginal swab sample being

collected,” which was at Doris Washington’s autopsy on the morning

of November 27, 1991, approximately 9 hours after her death. (Doc.

156-3 ¶ 7.)      Ryan has two bases for this opinion.          The first is

the lack of evidence of sperm on the vaginal swabs taken from Doris

Washington.      According to Ryan, “the amount and quality of sperm

cells in the vaginal canal decrease in a fairly linear fashion as

time-since-intercourse (TSI) increases, with ‘few’ or no sperm

cells typically detected after ~ 72 to 96 hours.”              (Id.)    Ryan

relies on the fact that the State Bureau of Investigation (“SBI”)

and the medical examiner did not observe any sperm on two slides

of fluid taken from Doris’s vagina.17          (Doc. 259-2 at 184:19-25,

190:17-23, 191:2-18.)       The second basis is the fact that in March

1993 -- about 15 months after the murders -- the SBI conducted an

acid phosphatase (“AP”) test on Doris Washington’s vaginal swabs,

which was negative.       AP is an enzyme found in high concentrations

in semen, higher than in other bodily fluids.             (Doc. 156-3 ¶ 7;

Doc. 253-1 at 94:2-5.)        In an AP test, a reagent is added to the

sample.      After a set period of time –- such as 30 seconds, 1

minute, or 2 minutes, depending on the lab’s protocols -- either

the color on the sample has changed (a positive test) or the color

has not changed (a negative test).          (Doc. 253-2 at 46:16-48:11.)




17   Howard does not appear to challenge this finding.    (Doc. 253-1 at 4.)

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The analyst might also test the reagent on both a positive control

(a known semen stain) and negative control (a clean swab) to ensure

the reagent is working.     (Id. at 48:12-49:17.)        The AP test is a

presumptive test for the presence of semen.

       Howard argues that Ryan’s conclusion -- that sexual activity

between Jones and Doris Washington “likely occurred . . . several

days prior” to the swab being collected –- lacks a reliable basis

for two main reasons: 1) the AP test itself is unreliable; and 2)

the test is even less reliable in this case because Ryan does not

know   the standard    (i.e.,   the    cut-off   time)   the   SBI   used   in

conducting the test.    (Doc. 156 at 2, 5.)

       For his first argument, Howard cites a 2017 study published

in the Journal of Forensic Sciences by David G. Casey et al.

entitled “The Persistence of Sperm and the Development of Time

Since Intercourse (TSI) Guidelines in Sexual Assault Cases at

Forensic Science Ireland, Dublin Ireland” (the “Casey study”).

(Doc 156-7.)    The study appears to be one of the leading studies

on TSI, containing a large sample size (over 5,500 swabs) and with

robust statistical analysis.      Ryan herself lists the Casey study

as a source she consulted in preparing her report (Doc. 156 -3 ¶ 5),

and at her deposition she acknowledged the paper’s strengths as a

recent study with a large dataset that was published in a reputable

journal (Doc. 253-2 at 117:21-122:1.)       In relevant part, the Casey

study concludes:

                                      56



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     The use of AP reaction time to inform one’s expectations
     of the presence or absence of sperm on swabs, to estimate
     the time since intercourse . . . is unsafe and unreliable
     . . . Our analysis has very clearly demonstrated the
     dangers of relying on the AP reaction time on vaginal
     swabs and that such an approach could be misleading to
     the courts.

(Doc. 156-7 at 8.)    Pertinent here, as evidenced by Table 16 from

the study (reproduced below), the authors found that in analyzing

AP results for sperm-positive swabs at a cut-off time of less than

60 seconds, nearly all intervals from 0 to 48+ hours TSI had a 50%

or less positivity rate:




(Doc. 156-7 at 6.)   Only the 0-12 TSI interval had a statistically

significant   positivity    rate   greater   than   50%   (95%   confidence

interval of 0.51, 0.63).       The 0-6 hour TSI was exactly 50%, but

the low end of the 95% confidence interval could not exclude less

than 50% (95% confidence interval of 0.45, 0.55).         In other words,

according to the Casey study, more than half of the swabs that

were positive for sperm required an AP test time of at least 60

seconds to show a positive result, regardless of when sexual

intercourse occurred.      Thus, if an analyst used an AP cut-off time

of less than 60 seconds, it was more likely than not that a sperm-

                                    57



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positive swab would still report a negative AP result in all but

two of the time intervals.     (Id. at 7.)     More to the point here,

as for Ryan’s opinion that sexual activity occurred “several days”

before the swab was collected from Doris Washington, Table 16 shows

that well fewer than half -- only .31 (24-48 hours TSI) and .45

(48+ TSI) -- of such slides would show a positive AP test result

at less than 60 seconds, with statistical confidence intervals as

low as .23 and only as high as .40 for 24 to 48 hours TSI and .68

for 48+ TSI.   Thus, according to this study, if using an AP test

of less than 60 seconds, more often than not there is a false

negative.

     Howard argues that the       reliability of     Ryan’s opinion       is

further undermined by the fact that Ryan does not know the cut-

off time the SBI used for its AP test on Doris Washington’s swab.

(Doc. 253-2 at 245:15-17.)     Howard also argues that the SBI notes

do not give a clear indication whether the controls were working;

there is what Howard characterizes as a scribble through the

notation for the positive control, (see Doc. 156-6 at 4-5), which

he contends might indicate the reagent was not working properly.

Therefore, to the extent Ryan’s opinion of “likelihood” is based

on the AP test, Howard contends, it suffers from two deficiencies:

an AP test in which randomness cannot be rejected in more than 50%

of the cases (at less than 60 seconds); and the lack of knowledge



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of the AP time used by the SBI to reach its AP result. 18

       Finally, Howard notes that while in her report Ryan wrote

that sexual activity between Jones and Doris Washington “likely”

occurred “several days prior” to the vaginal swab being collected

(Doc. 156-3 ¶ 7), at her deposition, when asked what she meant by

“several days,” she testified, “I would say at least one to two,

at a minimum, possibly even longer” (Doc. 253-2 at 191:20-21).               In

direct response to Howard’s counsel’s question, “What do you mean

by likely?” Ryan responded:

       “Because it’s difficult to be 100 percent positive about
       things, I have to -- even the studies are generalities; right?
       There’s what we typically expect to see. We’ve already talked
       about there’s these outliers and things like that. I can’t
       say this absolutely happened two days prior or it absolutely
       happened.    You know, this is what it’s consistent with,
       though. When I look at these results, AP negative, likely
       low number of sperm cells, that is consistent with a longer
       time since intercourse. Can I say that that’s 100 percent
       what happened? No, because of the factors that we just talked
       about, because I wasn’t, you know, I wasn’t there, and these
       are just based on generalities, but that is completely
       consistent with what I would expect if the person had sexual
       intercourse with a person one, two, even up three days prior.”

(Id. at 198:2-18; see also id. at 193:21-25 (“The fact that there’s

no AP activity and there was [sic] no sperm cells visualized, yet

we’re still able to get a result, that is completely consistent

with a more extended time since intercourse interval.”).)             Howard

therefore argues that Ryan cannot testify to a probability opinion




18Whether the AP time the SBI employed could have been determined by
further inquiry of the SBI is unclear.

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because the results are only “consistent with” her opinion.

       Defendants respond that as for the reliability of AP testing,

Ryan testified in her deposition that “when [Casey and others]

talk about historically, I think they’re referring to the fact

that many years ago, AP was originally thought to be a little bit

more specific than what we realize it is now.”              (Doc. 259-2 at

251:10-13.)      Ryan does not dispute the import of the Casey study,

which concludes that reliance on AP results to determine TSI could

be “misleading” to a court.         (Doc. 156-7 at 8.)     She agrees that

she would not “use the reaction time of AP to try to indicate a

time since intercourse” and states she is not doing so here.             (Doc.

259-2 at 249:5-17)19      She also acknowledges that the AP test is “a

presumptive test” and that “you have to do a confirmatory test to

confirm that.”      (Id. at 251:16.)       While the AP test is important

because it is not positive, Ryan testified, she bases her TSI

opinion on the fact that “there are likely only a very few sperm

cells present on the vaginal swabs.”         (Doc. 156-3 ¶ 7.)       One piece

of evidence for TSI, she contends, is sperm quality.            Sperm breaks

down    in   a   linear   fashion   over    time,   resulting   in    visible

differences, including the loss of tails.           (Doc. 156-3 ¶ 7; Doc.


19Ryan does agree with Howard’s expert, Meghan Clement, who acknowledges
that if AP testing is done on a swab that was collected within 12 hours
of intercourse -- as Howard alleges occurred here -- “[t]ypically the
only time we would see AP tests come out negative [is] if the woman was
menstruating . . . But within 12 hours, generally we would see a positive
AP test.” (Doc. 253-1 at 115:14-19.)


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253-2 at 115:4-116:10.)       Ryan testified at her deposition, citing

the Casey study, that “24 hours would probably be the longest time

. . . that I would typically expect to see [sperm] tails present.”

(Doc. 253-2 at 115:23-25.)          When Doris Washington’s swabs were

analyzed by the medical examiner and the SBI, sperm cells were not

observed.20    (Doc. 87-19 at 2; Doc. 87-17 at 9.)       Ryan opines that,

because male DNA was detected however, “it is likely - though

unconfirmed - that a small number of sperm cells were present” in

her vaginal swab.      (Doc. 156-3 ¶ 7.)

       As to the AP time used by the SBI in its analysis of Doris

Washington’s swabs, Ryan acknowledges that she does not know the

SBI’s protocols.       (Doc. 156-4 at 245:15-17.)       However, Ryan, who

was trained in conducting AP tests, conducted many herself, and

has worked thousands of DNA cases in various laboratories (id. at

46:8-10; Doc. 259-2 at 77:20-24), testified that “normally most

labs are using two minutes” for a cut-off time to observe AP

reaction.      (Id. at 254:2.)     She further testified that “I can’t

say that every single lab in the country is using two minutes, but

that is kind of a normal or accepted time.”          (Id.)   She also cites

literature to support her opinion that two minutes is “generally

accepted.”      (Doc. 259-2 at 256:23-257:25; Doc. 156-5 (marked as



20Howard’s expert, Meghan Clement, also agrees that the medical examiner
and SBI did not observe any sperm. (Doc. 253-1 at 3-4, 15.)



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Ryan deposition Exhibit 102).)21              In her opinion, based on her

training and experience, it would “really surprise me if somebody

is using a 30-second cutoff.”           (Id. at 240:5-6.)

       As to the controls, Ryan responds that the SBI worksheet

reflects that controls were in fact used, which would have been

necessary to properly conduct an AP test, and that what Howard

contends is a “scribble” through the reference to a control appears

more    likely    to   be   the   laboratory     technician’s      markings   to

acknowledge that she conducted her positive and negative controls.

(Doc. 156-4 at 222:22-25.)

       As discussed above, on a Rule 702 challenge, Defendants bear

the burden of establishing the admissibility of Ryan’s testimony

by “a preponderance of proof.”            Cooper, 259 F.3d at 200.        While

the Supreme Court has identified several non-exhaustive factors to

consider in determining if an expert’s opinion is reliable, id. at

199, the principal inquiry under Rule 702 is whether there is

evidence, judged by a preponderance, that the expert’s testimony

is based on sufficient facts or data, is the product of r eliable

principles       and   methods,   and    is   the   product   of   a   reliable

application of the principles and methods to the facts of the case.

While these factors may be contested, the court is mindful that



21 The problem with a longer cut-off time beyond two minutes, Ryan
testified, is the risk of false positives, as “there are other bodily
fluids that contain acid phosphatases and there are other things that
can give a positive.” (Doc. 259-2 at 256:13-14.)

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“[t]he trial court’s role as a gatekeeper is not intended to serve

as a replacement for the adversary system.”            In Re Lipitor, 892

F.3d at 631 (citation omitted).

       The court, having read the entirety of Ryan’s deposition

submitted by the parties as well as the key studies at issue, finds

that Defendants have carried their burden of proving that Ryan has

met the prerequisites of Rule 702’s admissibility standard by a

preponderance.      Howard’s principal challenge is to Ryan’s use of

AP reaction time, which he says the 2017 Casey study demonstrates

is unreliable as the basis for estimating TSI because it has a

high rate of error.         Ryan agrees that using the AP result to

determine TSI would be unreliable.22        This appears to be consistent

with the Casey study’s conclusion that AP reaction t ime “performs

poorly” as a “sensitivity test for the presence of sperm.”             (Doc.

156-7 at 7.)      But that is not what she is doing.       Rather, Ryan is

basing her TSI opinion on the lack of reported sperm cells observed

on Doris Washington’s vaginal swabs – what she calls the “gold




22 It is noteworthy that the Casey study is less definite in its
conclusions, stating: “Our findings suggest that the AP reaction
underestimates the expectation of sperm-positive vaginal swabs and
supports our previous suggestion that we should not rely on AP reaction
times as an indicator or sperm-negative vaginal swabs.” (Doc. 156-7 at
6 (emphasis added).) On the other hand, Casey found that an AP time of
less than 30 seconds was “a very good indicator of the presence of sperm”
(88% to 95% expectation of observing sperm). (Id.) This is consistent
with Ryan’s opinion.



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standard” - as well as the fact that the AP result was negative. 23

(Doc. 259-2 at 57:5-24.)           Based on her training and experience,

which     includes    microscopic     visualization     and   has   not    been

challenged, she opines that semen would be detectible in a linear

fashion    after     intercourse   and “few” or    no    sperm   cells    would

typically be detected after 72 to 96 hours.              (Doc. 156-3 ¶ 7.)

She also relies on the fact that 24 hours after intercourse is

“probably” the longest one would expect to observe sperm tails

(Doc. 253-2 at 115:23-24), and no tails were reported here (mainly

because no sperm were identified).24

       Moreover, Howard’s challenges to the AP time focus largely on

an assumption that the SBI used a cut-off of less than two minutes,

yet Ryan testified (supported by literature)25 that two minutes is

the standard used my most laboratories in the nation.               (Doc. 253-

2 at 254:2.)     All of this is consistent with the Casey study, which

concluded that “AP reaction time is an unsafe and unreliable


23The testimony of Howard’s expert, Clement, that “within 12 hours,
generally we would see a positive AP test” (Doc. 253-1 at 19) is
consistent with Ryan’s consideration of the AP test result.

24Ryan acknowledges that she has no information about the quality of any
sperm cells because none was identified.     (Doc. 259-2 at 193:10-14.)
However, this does not render her opinion unreliable. The Casey study,
relied on by Howard, similarly concluded that “Our findings show that
the expectation of finding sperm with tails after 24 h is very low . .
. and that sperm with tails on vaginal swabs are more likely to be
detected within 12 h TSI.” (Doc. 156-7 at 5.)

25Ryan cited a literature review, Providing Evidence Based Opinions On
Time Since Intercourse (TSI) Based On Body Fluid Testing Results of
Internal Samples, by R. Dziak et al., published in the 44 Canadian
Society of Forensic Science Journal 2 (2011).

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predictor of sperm on intimate swabs.”           Doc. 156-7 at 1.      Here,

Ryan is relying on visual observations of the medical examiner and

SBI to confirm the absence of any observable sperm.            The negative

AP    result is    consistent   with that     conclusion.     Thus, Ryan’s

testimony is based on sufficient facts and data - the testing

conducted by the medical examiner, SBI, and the DNA testing by

LabCorp.

       Defendants have also demonstrated that Ryan has reliably

applied her principles and methods to that data to arrive at

reliable opinions.         The fact the AP test has variability is

certainly important and subject to cross-examination, but the

court cannot say that Ryan’s inclusion of the negative AP result

reported by the SBI in conjunction with the facts relating to the

clinical reviews’ failure to observe sperm renders the opinion

invalid scientifically.         The AP test is subject to positive and

negative controls, is used routinely in forensic testing, and is

subject to extensive peer-reviewed literature supporting its use

as a presumptive test.       Indeed, Ryan would have to consider the AP

test result, no matter what it was.            Howard’s challenges to it

here are largely based on higher rates of error in the AP test

where the cut-off time is less than two minutes.            But this is an

assumption, not supported by any evidence, that the SBI did not

use what Ryan describes as a standard laboratory two-minute cut-

off.     So, while there is a higher rate of error in some AP cut-

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off times, it cannot be said that the SBI used a shorter time here.

More importantly, the AP test is only a presumptive test for the

presence of any sperm, and even the Casey study reveals that the

shorter the TSI, the more likely the AP would t est positive and

more sperm would be detected microscopically. (Doc. 156-7 at 8.)

So, any rate of error in the negative AP result does not seriously

undermine Ryan’s opinion.          See United States v. Bonds, 12 F.3d

540, 560 (6th Cir. 1993) (affirming admission of DNA evidence

although there were deficiencies in calculating the rate of error,

because “the error rate is only one in a list of nonexclusive

factors    that    the   Daubert   court   observed   would   bear    on    the

admissibility question.”).

     While a preponderance of evidence supports Ryan’s opinion as

to a time since intercourse, the court must also ensure that the

expert does not overstate her opinion.            See Fed. R. Evid. 702

advisory committee note to 2000 amendment (recognizing that on

occasion   an     expert   may   “unjustifiably   extrapolate[]      from    an

accepted premise to an unfounded conclusion”); Gen. Electric Co.

v. Joiner, 522 U.S. 136, 146 (1997) (observing that the trial judge

may find that there is “simply too great an analytical gap between

the data and the opinion proffered”).         Here, Ryan’s report opines

that “sexual activity between Jermeck Jones and Doris Washington

likely occurred several days prior to the vaginal swab sample being

collected.”       (Doc. 156-3 at ¶ 7.)156-3 at 5 (emphasis added).)

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Yet in her deposition, when asked what she meant by “several days,”

Ryan testified, “I would say at least one to two, at a minimum,

possibly even longer.”         (Doc. 253-2 at 191:20-25.)        Again, she

later testified, “I think the most likely time period, it wou ld be

one to two days.”       (Id. at 192:21-23.)      Otherwise, she has “less

certainty” because she does not know how many sperm cells were

present.     (Id.)    And because while she assumes some sperm cells

were present because the DNA test was positive, the re must have

been few of them because no sperm cells were microscopically

identified.     (Id. at 192:21-193:25.)       Therefore, knowing that the

presence of sperm declines linearly from TSI, the only TSI opinion

to which she can reliably testify as more likely than not is one

to two days.26     Accordingly, her testimony will be so limited.

       Accordingly, the court, exercising its gatekeeper function

over expert testimony, finds that Defendants demonstrated by a

preponderance of evidence that Ryan’s opinion that it is “likely”

that sexual activity occurred “one to two days prior” to the

collection of the swabs is the product of reliable principles and

methods that have reliably been applied to the facts of this case.

Having met the       admissibility threshold for        that   more   limited

opinion, any limitations to her testimony or questions as to her



26Notably, this more limited opinion is also consistent with the Casey
study, which suggested a guideline that “at a TSI of up to 48 h, the
expectation of obtaining sperm on vaginal swabs can be considered high.”
(Doc. 15607 ay 9.)

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bases are properly the subject of cross-examination.

     Howard challenges two other opinions offered by Ryan.               First,

Howard challenges Ryan’s opinion (Doc. 207-1 ¶ 11) that it was

“possible” that sample switching could have occurred during the

medical examiner’s autopsy of both victims because the autopsies

were performed “on the same day, in the same facility, with the

same individuals attending.” (Doc. 156 at 20-21.) Howard contends

that it is contrary to her deposition testimony and lacks a factual

basis.     (Id. at 21.)   Defendants do not offer any explanation in

response.

     Ryan only purports to identify potential sources of error in

the medical examiner’s analysis.            For example, she notes that

switched    results   could   occur    if   “the   swabs   and    smears   were

collected and not immediately labeled” or the wrong information

was recorded “multiple times on multiple samples and the error

[was] not [] detected.”       (Doc. 207-1 ¶ 11.)     While she opines such

is possible, she concedes she does not offer any opinion as to a

preponderance.    Howard does not contend that such errors are not

possible.    Thus, while Ryan will be permitted to point out possible

sources of error in any case, she may not offer any opinion that

such occurred here as she has no evidence that it did.

     Second,    Howard    challenges    Ryan’s     testimony     that   several

issues “may need further examination to clarify,” such as why

Nishonda’s vaginal and rectal smears detected sperm cells, but her

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samples did not detect male DNA at the quantitation stage of

analysis, because she noted in deposition that the outcome of those

issues would not undermine the results of the tests.           Howard argues

that these observations are irrelevant and confusing.              (Doc. 156

at 20-22.)     Defendants do not offer any explanation in response as

to how Ryan’s testimony on these unclarified issues is relevant

but state they “do not concede they have withdrawn the opinions .”

(Doc. 238 at 12.)

       It goes without saying that where Defendants bear the burden

of    demonstrating     admissibility      of   an   expert   opinion   by   a

preponderance, a failure to respond is of little assistance. Ryan

testified in her deposition that these were items that “don’t

necessarily make sense to me” and stated in her report these items

“may need further examination to clarify.”              (Doc. 156-4 at 63;

Doc. 156-2 at 4.)      It is difficult to discern the purpose of such

statements.      To the extent Ryan claims there are items she does

not understand, such as these, she will be permitted to testify to

that, and why.

       Howard’s motion to exclude Ryan is thus granted in part and

denied in part, as noted.

       F.    Other Act Evidence

       Howard moves to exclude evidence regarding certain other acts

of his, including his prior criminal convictions and arrests, prior

drug use, instances of being shot, prison disciplinary history,

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and alleged domestic disputes.             (Doc. 165.)       After the filing of

the motion, the parties subsequently agreed to exclude any evidence

of Howard’s prison records and alleged domestic disputes, but they

have been otherwise unable to agree.             (Doc. 246 at 7.)

      Federal Rule of Evidence 404(b) prohibits evidence of “any

other crime, wrong, or act . . . to prove a person’s character in

order to show that on a particular occasion the person acted in

accordance with the character.” Fed. R. Evid. 404(b)(1). However,

such evidence “may be admissible for another purpose” such as

proving motive, opportunity, intent, or identity.                   Fed. R. Evid.

404(b)(2).      The    Fourth    Circuit     employs     a   four-part     test    to

determine    the   admissibility      of    other   act      evidence:    “(1)    The

evidence must be relevant to an issue, such as an element of an

offense . . . (2) The act must be necessary in the sense that it

is probative of an essential claim or an element of the offense.

(3)   The   evidence    must    be   reliable.      And      (4)   the   evidence’s

probative value must not be substantially outweighed by confusion

or unfair prejudice.”          United States v. Queen, 132 F.3d 991, 997

(4th Cir. 1997).       However, other act evidence that is “intrinsic”

to the case is outside the scope of Rule 404(b).               See United States

v. Denton, 944 F.3d 170, 186 (4th Cir. 2019) (“Acts that are

intrinsic to the charged offense . . . do not fall under Rule

404(b)’s limitations on admissible evidence.”) (citation omitted).

“Bad acts are intrinsic to the charged offense when they are

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inextricably intertwined,” when “both acts are part of a single

criminal episode,” when the bad acts are “essential to the story

of the crime,” or when they provide “context to the charged

offense.”     Id. (citations omitted).

       Howard’s   motion   contains    both    specific   acts   and    general

descriptions      of   types   of   “other    acts”   evidence   he    believes

Defendants may introduce at trial.           Because the court cannot rule

on general descriptions, only that evidence actually identified by

Howard will be addressed.

       As to arrests, Howard seeks to exclude evidence that he was

arrested the morning after the murders for trespassing in Few

Gardens.27      Defendants represent that Howard was arrested for

trespassing in Few Gardens over 75 times prior to the Washington

murders.     This evidence is admissible under Rule 404(b)(2) , as it

is relevant, probative, and reliable.            At the criminal trial, a

number of witnesses testified that they saw Howard the day of the

Washington murders in Few Gardens arguing with Doris Washington

and leaving the Washingtons’ apartment that night around the time

of the murders.        Howard’s frequent presence in Few Gardens is

relevant to proving identity, including by those trial witnesses

who claimed to recognize him, as well as opportunity, among other



27Howard also points to a 2009 arrest for misdemeanor assault sworn out
by a co-worker. (Doc. 166 at 8.) Defendants do not appear to oppose
this.


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things.           It    is    reliable   as     it   is   based   on    law     enforcement

encounters recorded at the time and easily passes the Rule 403

balancing test.

       Howard moves to exclude evidence that Darrell Dowdy spoke to

him while he was in the hospital recovering from a gunshot wound.

Howard also seeks to preclude evidence of instances of his being

shot multiple times prior to the Washington murders.                          (Doc. 166 at

10.)         Defendants         argue    that    “Dowdy     questioned        [Howard]    in

connection to this case while he was in the hospital recovering

from [gunshot] wounds.             [Howard] had been shot by someone known to

be a part of the New York Boys and Dowdy went to speak with him to

see if he could identify ‘O’.                    The testimony at trial was that

during that same conversation Dowdy and Plaintiff also discussed

Doris       and    Nishonda      Washington.”          (Doc.   213     at   8    (citations

omitted).)         To the extent the evidence of prior gunshots occurred

during Dowdy’s investigation, such as the hospital visit, this

evidence is intrinsic to Dowdy’s investigation, which is at issue

in this case.                Otherwise, prior instances of being shot bears

little relevance to the issues for the jury and runs afoul of Rule

403 by suggesting that Howard was involved in violent activity.

Therefore, the motion to preclude instances of being shot is denied

as     to    any       intrinsic    conduct      during     the   course        of   Dowdy’s

investigation; the motion will otherwise be granted subject to

Defendants         demonstrating         why    such      evidence     is   relevant     and

                                                72



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otherwise admissible at trial.

       Howard moves to exclude evidence that he sold Doris Washington

drugs as well as his prior drug use.             Howard argues that while his

alleged    drug    activity on the         day before      and the      day of the

Washington murders is relevant,28 any other drug related activity

is irrelevant because it does not make the existence of any

consequential fact more or less probable.                    (Doc. 166 at 6.)

Defendants       contend     that    Howard’s    prior     drug   use    and     drug

involvement is admissible because it was testified to at his

criminal       trial   and   is     “so   intertwined    with     the    facts    and

investigation of the criminal case that [it] must come in.”                      (Doc.

213 at 2.)

       While     the   admissibility       of   evidence    in    the    underlying

criminal trial is not a relevant factor, such evidence is intrinsic

to Dowdy’s investigation of the Washington murders and is relevant

as it is probative of why Howard was a suspect because it tends to

demonstrate his presence at Few Gardens, known for being a haven

for drug distribution and use, and to describe the nature of his

relationship with Doris, who was allegedly a drug user and seller,

as well as potential motive.                (Doc. 262 at 111-112 (Howard’s

counsel acknowledging admissibility of prior drug use).)                           The




28Howard concedes that testimony “he was addicted to drugs and using
drugs with others in Few Gardens on the night of the Washington murders”
is admissible. (Doc. 166 at 1-2.)

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probative value is also not substantially outweighed by unfair

prejudice.

      As   for   Howard’s   identified   prior    convictions,   which   are

represented to include breaking and entering, larceny, and cocaine

possession, Defendants argue this evidence is admissible because

Howard testified to it at his criminal trial and because it is

“highly relevant” to Dowdy’s investigation.              (Doc. 213 at 2.)

However, Defendants make this argument generally for all the other

act evidence they seek to admit, and they do not articulate why

Howard’s prior convictions were relevant to Dowdy’s investigation.

Admitting such evidence in this civil trial could risk violating

Rule 404(b)’s prohibition on character evidence, i.e., a jury might

conclude that Howard was guilty of the Washington murders because

he had committed other crimes.           Nor is this evidence likely

admissible to impeach Howard if he testifies in this case.           Federal

Rule of Evidence 609 limits evidence of convictions that are more

than ten years old -- as are all of Howard’s prior convictions -–

for    impeachment     purposes    unless        their   probative    value

“substantially outweighs” their prejudicial effect.          Fed. R. Evid.

609(b).    Defendants have not demonstrated any probative value of

these convictions and, given their age (Howard’s last conviction

was in 1991, 30 years ago), the risk of prejudice is high.                The

motion will therefore be granted subject to Defendants providing



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an    articulated reason why       any    prior    conviction   sought to    be

introduced was relevant to Dowdy’s investigation at the time.

       Next, Howard seeks to preclude any evidence that he had

previously been incarcerated.           Neither side has indicated what the

facts are about any prior incarceration.

       Depending on the bases for his claim for damages, evidence of

Howard’s prior incarceration might be relevant.              In his briefing

and at the hearing, Howard relied on Smith v. Baltimore City Police

Dep’t, 840 F.3d 193 (4th Cir. 2016).             In Smith, the Fourth Circuit

reversed a verdict in favor of two police officers in an unlawful

arrest     case    when   the   trial    court    allowed   evidence   of    the

plaintiff’s three prior arrests solely for purposes of damages.

Id. at 196.       The Fourth Circuit did so because there was no record

that the three prior arrests were “remotely similar” to the arrest

at issue in that case; the plaintiff was claiming damages that

flowed only from that specific arrest (and not, for example,

damages because she was more fearful of police generally, to which

the prior arrests might be relevant); and the defense counsel’s

questioning suggested the evidence was sought primarily to show

character and propensity.         Id. at 203.       Although not directly on

point, Smith is instructive.            This is especially so in light of

the Fourth Circuit’s recent admonitions that prior acts are more

likely to be relevant when there is sufficient “factual similarity

and temporal proximity” between the prior acts and the conduct at

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issue.    United States v. Hall, 858 F.3d 254, 260 (4th Cir. 2017);

see also United States v. McBride, 676 F.3d 385, 397 (4th Cir.

2012) (“The more closely that the prior act is related to the

charged conduct in time, pattern, or state of mind, the greater

the potential relevance of the prior act.”).

       Another consideration is the testimony of Howard’s damages

expert, Dr. Artigues.         In her forensic psychiatric evaluation of

Howard, Dr. Artigues concludes that Howard has PTSD, and the “main

traumatic stressors” are the “long wrongful incarceration and the

experiences he had during that incarceration.”                     (Doc. 154 -1 at

12.)     She    so     concludes   after     discussing   and excluding     other

potential      causative     factors,      including    Howard’s    “exposure    to

violence that predated his wrongful incarceration” and injuries

sustained from being shot.           (Id. at 12-13.)      It is unclear whether

any prior incarceration, and the extent of it (which the parties

have   not     indicated),    contributed to her analysis.               For now,

Defendants have not demonstrated the relevance of any period of

prior incarceration.         Thus, the court will preclude evidence of

Howard’s       prior     period(s)      of      incarceration   subject     to   a

demonstration by Defendants that, based on the nature of the

evidence at trial, it is relevant to a claim at issue and passes

the Rule 403 balancing test.

       As to any unresolved basis for this motion, specific instances

of other act evidence will be considered on a case-by-case basis

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at trial, subject to the rulings in this order.

       G.     Inculpatory Hearsay

       Howard moves to exclude “hearsay evidence that purportedly

incriminates [him] in the Washington murders.”              (Doc. 173.)   It is

not clear what evidence Defendants might seek to offer or that

Howard      wants   to   exclude.    Howard    gives   as     an   “example”   a

“crimestoppers” tip contained in Dowdy’s investigative file that

stated Howard and others killed the Washingtons.              (Doc. 174 at 2.)

Defendants oppose the motion, arguing (albeit perfunctorily) that

Dowdy’s investigative file is admissible if the proper foundation

is laid.      (Doc. 212 at 2.)

       The motion is denied at this time.            The motion is far too

vague.      Such evidence might be admissible not for the truth of the

matter asserted but for a non-hearsay purpose, e.g., to explain

the investigatory actions that Dowdy took or did not take.                It is

possible that such evidence might also fall within an exception to

Rule 803.29     As the court stated at the hearing, such evidence will

be taken on a case-by-case basis if offered at trial.

       H.     Assistant District Attorney Opinions

       Howard    moves    to   exclude    certain   opinion   testimony   from

Assistant District Attorneys (“ADAs”) Michael Nifong and Mary


29 Dowdy’s investigative file could represent his present sense
impression (Rule 803(1)), his then-existing state of mind (Rule 803(3)),
or otherwise be admissible as a public record (Rule 803(8)).



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Winstead, who handled aspects of pre-trial proceedings and, as to

Nifong, Howard’s criminal trial itself in 1995.30                (Doc. 176.)

Specifically, Howard seeks to exclude any testimony from Nifong

and    Winstead     as   to   Howard’s    credibility    or   guilt,    Dowdy’s

credibility, and how the Washington murders occurred.                    Citing

Cameron v. City of New York, 598 F.3d 50 (2d Cir. 2010), Howard

argues the admission of such evidence               would violate “bedrock

principles     of   evidence    law   that    prohibit   witnesses     (a)   from

vouching for other witnesses, (b) from testifying in the form of

legal conclusions, and (c) from interpreting evidence that jurors

can equally well analyze on their own.”             See id. at 54 (vacating

jury verdict in part where two ADAs and a police lieutenant were

allowed to give their opinions on defendant police officers’

credibility).       Defendants reply that a “blanket exclusion” of the

ADAs’ testimony is premature and that such evidence might be

relevant and admissible depending on how the case unfolds at trial.

(Doc. 228 at 2.)

       As with several other motions, the exact evidence Howard

surmises Defendants may seek to admit, and thus which he seeks to

exclude, is not clear.          Assuming both Howard and Dowdy testify,

Nifong and Winstead would not be able to testify as to either’s


30 Specifically, Winstead appears to have been assigned to the Washington
murder case shortly before Howard was arrested in November 1992; signed
the indictments issued for his arrest; and left the Durham DA’s office
in spring 1994, before Howard’s trial.      (Doc. 225-1 at 22:1-23:25.)
Nifong was the lead prosecutor at Howard’s 1995 trial.

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credibility.      See Cameron, 598 F.3d at 61 (“[a]s a matter of law,

the credibility of witnesses is exclusively for the determination

by the jury, and witnesses may not opine as to the credibility of

the testimony of other witnesses at the trial.”) (internal citation

omitted). But Nifong and Winstead, like any witness, are permitted

to testify on the basis of their direct, personal experience with

the case.      This could include lay opinions on certain issues if

relevant to the case and if the requirements of Rule 701 of the

Federal Rules of Evidence, which governs lay opinion testimony,

are met.31     For example, in Cameron the Second Circuit suggested

that one of the ADAs could testify on retrial that it was her

decision to prosecute the plaintiff and that the defendants did

not aggressively seek prosecution, since that would be relevant to

whether     defendants   had   the   requisite   malice   for   a   malicious

prosecution charge.       Cameron, 598 F.3d at 67.

       Although there is no malicious prosecution claim here, proof

of bad faith remains a contested fact in this case, and Nifong and

Winstead may testify to Dowdy’s actions if probative of whether he

acted with such a state of mind.        Further, given the nature of the

remaining claims against the Defendants, Howard squarely alleges

that they fabricated and suppressed evidence.          Thus, it can fairly


31Rule 701 permits opinion testimony by lay witnesses when the opinion
is: “(a) rationally based on the witness’s perception; (b) helpful to
clearly understanding the witness’s testimony or to determining a fact
in issue; and (c) not based on scientific, technical, or other
specialized knowledge within the scope of Rule 702.”

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be said that Defendants’ character for truthfulness has been

attacked.    This issue is more fully dealt with below with respect

to another motion in limine filed by Howard                    to exclude good

character evidence of the Defendants.               (Doc. 196.)      Accordingly,

as Defendants argued at the hearing on these motions (Doc. 262 at

126-28) and with a proper foundation, Nifong and Winstead could

testify     to   Defendant’s     good    character      for   truthfulness,       as

permitted under Federal Rule of Evidence 608.

       Finally, Howard argues that the ADAs lack personal knowle dge

of certain matters (Doc. 180 at 3). Of course, as with any witness,

Nifong and Winstead must have personal knowledge of any matter to

which they seek to testify.          See Fed. R. Evid. 602.

       Accordingly, this motion is granted in part and denied in

part, as discussed above.

       I.   Defendants’ Character

       Howard    moves    for   an   order    “clarifying     that    evidence   of

Defendants’ misconduct in this case does not open the door for

good    character        evidence,      and   precluding      Defendants     from

introducing evidence of their good character because there is no

basis for doing so.”        (Doc. 196.)

       As stated at the hearing, this motion will be denied.                 Rule

404(a) of the Federal Rules of Evidence generally prohibits the

use of character evidence to show conformity with that trait.                    See

Fed.   R.   Evid.   404(a)      (“Evidence     of   a   person’s     character   or

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character trait is not admissible to prove that on a particular

occasion the person acted in accordance with the character or

trait.”).       Rule 608       prohibits rehabilitation for a witness’s

character for truthfulness unless it has been attacked.                          See Fed.

R. Evid. 608(a) (“[E]vidence of truthful character is admissible

only   after the       witness’s character for truthfulness has been

attacked.”).         Relying on the latter, Howard argues that he “will

not contend that Defendants have reputations for dishonesty or

that   their    misconduct      in    this    case    was    the    result       of    their

dishonest characters.” (Doc. 197 at 1.)                     As Defendants respond,

though, Howard’s claims allege that Defendants fabricated and

suppressed      evidence     and    did so     in    bad    faith    or    in    reckless

disregard      for    the    truth.     The    very    nature       of    these       claims

constitutes an attack on Defendants’ character for truthfulness.

Indeed, as Defendants point out in prior briefing before the court,

Howard has charged that Dowdy “lied” during his investigation.

(See Doc. 216 at 2.)

       Courts    in    the   Fourth    Circuit       have   permitted       an    officer

defendant in a civil rights suit in which the plaintiff has alleged

the officer fabricated             evidence to introduce evidence                     of the

officer’s good character for truthfulness.                    See Gell v. Town of

Aulander, 2009 WL 166379, at *4 (E.D.N.C. Jan. 22, 2009) (“In a

civil case where a finding for the plaintiff would be tantamount

to a finding that the civil defendant committed a criminal act,

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defense counsel may present          evidence of the defendant’s good

character or reputation for a pertinent trait as though it was a

criminal action.”)32; Washington v. Buraker, 2006 WL 1049506 at *1

(W.D. Va. April 13, 2006) (denying plaintiff’s motion in limine to

prevent defendant from introducing evidence as to defendant’s good

character or reputation in a wrongful conviction civil case where

plaintiff alleged defendant police officer fabricated evidence

against him).      This accords with the advisory committee notes to

Rule 608 which state, “Opinion or reputation that the witness is

untruthful specifically qualifies as an attack under the rule, and

evidence of misconduct, including conviction of crime, and of

corruption also fall within this category.”              Fed. R. Evid. 608

advisory committee note to the 1972 amendments.

       Accordingly,    given   the   nature   of   Howard’s   claims,   which

attack Defendants’ character for truthfulness, Defendants will be

permitted     to   introduce   “evidence      of   truthful   character”     in

response if Howard presents sufficient evidence of misconduct by

Defendants.     See Fed. R. Evid. 608(a).




32In Gell, the court was considering a motion to exclude an expert
opinion that the North Carolina SBI had a reputation for “integrity and
ability” in a § 1983 case where the plaintiff alleged the SBI officer
defendant fabricated evidence.   The court deferred ruling on the issue
out of concern that the expert’s opinion would bolster other possible
SBI witnesses whose credibility had not yet been attacked, but the
opinion reveals the court was inclined to allow it as to the actual SBI
defendant. Gell, 2009 WL 166379, at *9.


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       J.        Dowdy’s Belief      that     Doris   Washington     Engaged    in
                 Prostitution

       Howard       moves    to   preclude      Dowdy’s   opinion    that    Doris

Washington engaged in prostitution. (Doc. 184.) This motion stems

from testimony Dowdy gave at his 2019 deposition in this case in

which       he    stated     he   believed    Doris   Washington     engaged    in

prostitution.33       Howard argues that there is no admissible evidence

to support this opinion, that Dowdy’s opinion is based on hearsay

and not personal knowledge, and that any probative value would be

outweighed by unfair prejudice.               (Doc. 185 at 1-2.)      Defendants

oppose      the    motion,    arguing   there    is   admissible    and   relevant

evidence to support this opinion.              (Doc. 227.)

       As the court noted at the summary judgment stage, there was

some evidence at the very least that Doris Washington allowed her

house to be used for prostitution.               As the court acknowledged in

its order at that time, “Dowdy knew from [Roneka] Jackson’s first

interview that Howard and Doris Washington had argued the evening

of the murders over what was described as Howard’s anger over Doris

allowing Howard’s girlfriend to prostitute herself at Doris's



33Specifically, Dowdy testified, “The information I received about Ms.
Washington also indicated that she possibly sold her body for drugs.”
(Doc. 87-2 at 177:3-4.) Later, when questioned extensively by Howard’s
counsel about the source of this information, he stated, “That was
information from the neighborhood, that Doris actually sold her body for
drugs” and “This information would have been from the street. It would
be around the area.” (Id. at 187:14-15, 18-20.) However, it does not
appear that this information was in Dowdy’s investigative report. (Id.
at 188:2-189:7.)

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apartment.”   Howard, 487 F. Supp. 3d at 424.      And there is at least

a factual dispute at this point as to whether Doris Washington

herself   personally    engaged   in    prostitution.   Defendants   cite

Natasha Mayo’s testimony at Howard’s criminal trial, in which she

responds to the prosecutor’s questions as follows:

    “Q. Why? Why was [Howard] mad at you for you just being
    down there?

    A. Because Doris kept a lot of company and it was men in
    and out and I would try to -- she would try to talk me
    -- you know we would be talking about trying to get
    something else from one of the other guys.

    Q. I don’t know if the jury quite understands or even
    that I quite understand. What do you mean by something
    else?

    A.    Try to do something to get drugs.

    Q.    You mean something sexual?

    A.    Yes.

    Q.    Would Miss Washington ask you to do that?

    A. She didn’t really come out and ask me but she said
    it in so many words.”

(Doc. 251-1 at 462:9-24.)         In reply, Howard points to Mayo’s

deposition testimony for the proposition that “Natasha Mayo — who

actually knew Doris — testified that Doris did not engage in

prostitution.”    (Doc. 185 at 2.)          The relevant portion of the

deposition reads:

    “Q. And do you remember ever -- do you ever remember Ms.
    Washington herself sleeping with men for drugs?

    A.    I don’t.     I can’t remember.

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     Q.   That was something she would ask other women to do?

     A.   Yeah.

     Q.   But she wouldn’t do that herself?

     MR. OSTRANDER:      Objection.

     THE WITNESS:     No.

     BY MS. McCARTHY:

     Q. To your knowledge did she ever sleep with men for
     drugs?

     A.   No.”

(Doc. 185-1 at 22:14-23:1.)        At his deposition, when asked about

prostitution occurring at Doris Washington’s house, Howard himself

stated, “I just knew from being in the projects that every girl

who have a    house in the       projects, they use     their house for

prostitution.     If they don’t sell out of it, they find somebody to

prostitute out of it.”       (Doc. 227-1 at 145:13.)

     It is hard to read too much into these snippets of transcript.

It is certainly plausible that Howard’s reference to “every girl”

using her    house for      prostitution   means   literally every girl,

including Doris Washington.         It is also plausible that Mayo’s

testimony at trial about Washington trying “to do something to get

drugs” referred to prostitution.           And her deposition (taken 24

years after the criminal trial) could as easily be read for the

proposition that Doris Washington did not prostitute herself at

all, that she did not prostitute herself for drugs, or that Mayo

                                      85



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simply cannot remember.

     This    evidence       is    certainly    relevant,   in    particular     to

Howard’s    failure    to     investigate     claim.    Howard     contends    the

Washingtons     were   sexually      assaulted    in   connection   with    their

deaths    and   that    any      minimally-trained     detective    would     have

searched for evidence of sexual               assault at the crime scene.

Dowdy’s belief that Doris Washington engaged in prostitution goes

to the reasonableness of his investigation and his state of mind.

To the extent Howard argues that this evidence is hearsay (Doc.

185 at 2), the court will address any hearsay arguments at trial

depending on the nature of the evidence and the purpose for which

Defendants seek to introduce it.              But it may be admissible for a

non-hearsay purpose, such as to explain Dowdy’s state of mind and

why he took (or failed to take) the actions he did.

     The motion will therefore be denied at this time.

     K.     Leading Adverse Witnesses

     Howard moves for an order permitting examination by leading

questions of certain witnesses he may call during his case-in-

chief at trial.        (Doc. 191.)        Howard initially sought to ask

leading questions of Defendants Dowdy and Smith; current or former

Durham Police Department employees Scott Pennica, Michele Soucie

Clark, and John Pradka; and former Durham prosecutors Nifong and

Winstead.    The parties have agreed to permit Howard to ask leading

questions of Dowdy, Smith, and Nifong, but were unable to reach an

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agreement as to Pennica, Clark, Pradka, and Winstead.              (Doc. 246

at 14.)

       Pursuant to Federal Rule of Evidence 611(c), the court “should

allow” leading questions “when a party calls a hostile witness, an

adverse party, or a witness identified with an adverse party.”

Fed. R. Evid. 611(c)(2).         Pennica, Clark, Pradka, and Winstead are

not themselves adverse parties, and there has been no showing of

hostility    at   this   time.     Nor can     these   witnesses   fairly   be

construed as “identified with an adverse party.”              As Defendants

correctly point out, neither the City of Durham nor the DPD is a

named Defendant in this action at this point, so their employees

are not presumptively adverse.          (Doc. 230 at 3.)     Further, there

is little evidence that the non-party witnesses are “identified”

with either Dowdy or Smith.        Pradka testified he did not know Dowdy

on a personal level during their time at DPD, that he had “very

little contact with Darryl Dowdy,” and that he “never worked with”

him.    (Doc. 230-1 at 39:20-40:2.)        Pradka retired from DPD in 2002.

(Id.)     Pennica and Clark were not sworn officers with DPD until

1999, well after the investigation and criminal trial.                (Docs.

230-2 at 15:5; 230-3 at 9:16.)         Winstead, a Durham ADA, worked on

the Washington murder cases from about 1992 until 1994, before

Howard’s trial, and at her deposition did not recall meeting Dowdy.

(Doc. 230-4 at 22:17-23:3; 25:11-19.)

       Howard relies heavily on Ellis v. City of Chicago, 667 F.2d

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606 (7th Cir. 1981), for the proposition that, “[i]n a § 1983 case

alleging police misconduct, employees and former employees of the

police department ‘clearly qualif[y] as witnesses identified with

an adverse party for purposes of Rule 611(c).’”          (Doc. 193 at 2

(quoting Ellis, 667 F.2d at 613).)        Ellis found (non-reversible)

error when the trial court refused to permit the plaintiff to ask

leading questions in his direct examination of two police officers

employed by the City of Chicago.        However, in that case the City

of Chicago was a named defendant.        Further, the officers worked

closely   with   another   individual   named   defendant   through   all

relevant stages of the case.     See id. (“These police officers were

employees of defendant City of Chicago at all times during the

litigation and were each present during portions of the incident

which gave rise to this lawsuit.        Moreover, the record indicates

that both officers had worked closely with defendant Frank Kusar

during the period of their employment.”).       The same cannot be said

here.

     Accordingly, as stated at the hearing, Howard’s motion will

be denied.    Should any witness prove hostile during examination at

trial, the court will entertain a renewed motion to permit leading

questions.

     L.      Destruction of Evidence

     Defendants move to preclude any argument that Dowdy destroyed

any notes or investigative materials, including the audio tape of

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his interview with Angela Southerland, arguing that there is no

evidence to support willful destruction.           (Doc. 167.)     Defendants

argue, “[a]ll of the evidence developed in the case, including the

testimony of Dowdy, has shown that he turned his notes over to DPD

and they were subsequently lost by DPD. Given the age of the

documents, it is more than likely that the boxes that contained

the notes were lost when DPD moved headquarters.”                (Doc. 169 at

5.) Howard responds that there is evidence that Dowdy either never

created certain “missing” notes or he failed to maintain them --

specifically   notes    about    his       investigation    into       Nishonda

Washington’s whereabouts -- and that an inference can be drawn

that Dowdy destroyed both the notes and the Southerland tape.

(Doc. 233 at 1.)

     This motion will be denied.          There is a factual dispute as to

what happened to certain investigative materials, including notes

Dowdy allegedly took and the audio tape from his interview with

Southerland, and indeed if such materials even exist.              Both sides

are entitled to present their evidence, and the jury, as the

factfinder, will decide the issue.          To the extent Howard seeks an

adverse   inference    instruction     due    to   spoliation     as    to   the

Southerland tape (Doc. 233 at 10), that request is denied as

premature pending the proof presented at trial.

     M.   Mary Winstead Opinions

     Defendants move to preclude any argument or testimony from

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Mary Winstead, former Durham ADA, regarding DPD document retention

policies.     (Doc. 170.)    The parties agree that Winstead is not

qualified to testify about DPD document retention policies.           (Doc.

246 at 22.)    Howard argues that she should be permitted to testify

about how DPD officers documented and communicated evidence to

ADAs, and that such testimony is relevant to Howard’s claims.            For

example, Howard seeks to ask Winstead about the “standard practice”

of how DPD officers “communicate their investigation,” including

possible Brady material, to the district attorney’s office.           (Doc.

225 at    4-5.)     Defendants   argue    that Winstead     lacks   personal

knowledge     of   DPD   policies,   which    are   also    irrelevant    to

establishing “whether any constitutional right of [Howard’s] was

violated.”    (Doc. 172 at 1.)

     Framed as such, the motion will be denied.            It is clear that

Winstead, a former ADA, cannot testify about DPD policies because

she lacks personal knowledge to do so.         However, she can testify

as to her experience as a prosecutor working with the DPD and to

her personal knowledge and experience of DPD’s standard practices

in interacting with the Durham DA’s office.                Specific issues

regarding the scope of her testimony can be addressed as they arise

at trial.

     N.     The Manner of Roneka Jackson’s Death

     Defendants move to exclude testimony or argument that the

manner of Roneka Jackson’s killing by the New York Boys is evidence

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that the New York Boys killed the Washingtons.           (Doc. 178.) Howard

opposes the motion, arguing this evidence, and evidence of other

murders the gang committed, is relevant to show Jackson’s motive

to falsely implicate Howard, her ties to the New York Boys, that

it was more likely the New York Boys committed the Washington

murders, and that Dowdy’s failure to investigate the New York Boys

was in bad faith.        (Doc. 220.)

     Defendants’ motion appears to be              limited to evidence       or

argument that the “manner in which [Jackson] was killed by . . .

the ‘New York Boys’ is evidence that the New York Boys likewise

killed the Washingtons.”       (Doc. 179 at 1.)        They do not appear to

be opposing evidence that Jackson had connections to the New York

Boys, that she was working as a confidential informant, or that

she was killed.

     Given the more limited scope of this motion, the court’s

primary concern is the relevance of the manner of Jackson’s death.

Jackson was murdered in August 1995, well after Howard’s trial in

March 1995 and the Washington murders in November 1991.                Because

she was alive during Howard’s trial, Defendants could not have

known   the    violent    nature   of    her   death   when   they   allegedly

suppressed or fabricated evidence. Howard argues that the specific

manner of Jackson’s death is relevant for two reasons: 1) that the

New York      Boy’s   reputation   for   violent   murders made      it   “more

probable” they killed the Washingtons, which is “highly probative

                                        91



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context independent of any relation to one of Plaintiff’s claims”;

and 2) the murder can “flesh out” other evidence of the gang’s

pattern of violent conduct.              (Doc. 220 at 10-11.)

       The first argument runs afoul of Rule 404(b).                   As discussed,

Rule 404(b) prohibits evidence of a “crime, wrong, or other a ct”

to prove that person’s conformity to a character trait, although

the evidence may be admissible for another purpose such as proving

motive, intent, or identity.                  See Fed. R. Evid. 404(b).            Such

evidence    is   admissible         if   it    is   relevant,   necessary     (i.e.,

probative   of    a    claim   or    element),       and   reliable,    and   if    its

probative value is not substantially outweighed by confusion or

unfair prejudice.        See Queen, 132 F.3d at 997.             Here, the “other

act” -- Jackson’s violent murder -- is too dissimilar to the

Washington murders.          Jackson’s murder occurred four years later,

in a different city (New York City versus Durham), and with a

different method of killing.                  Admitting it for the purpose of

proving the New York Boys were violent and to imply that they

killed the Washingtons would tread too closely to the argument

that   “because       this   gang    committed       one   violent     murder,     they

committed another,” exactly what Rule 404b) guards against.                         Cf.

Roe v. Howard, 917 F.3d 229, 246 (4th Cir. 2019) (404(b) evidence

is “plainly admissible” when defendant’s treatment of one live-in

housekeeper from Yemen evinced a plan or pattern of behavior in

her treatment of another).

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      The second argument runs afoul of Rule 403.                There is little

probative value to this evidence since Jackson’s murder occurred

after Defendants’ investigation and Howard’s trial, the events

giving rise to this litigation.               This trial is about whether the

Defendants acted improperly at the time of Howard’s trial.                      The

fact that Jackson was violently murdered by the New York Boys in

New   York   City    several    months    later    risks   substantial      unfair

prejudice and confusion of the issues.

      Accordingly,     this    motion    will     be   granted   to   the   extent

Defendants seek to exclude testimony or argument about the manner

of Roneka Jackson’s death, including that the New York Boys killed

Jackson.

      O.     Roneka Jackson’s Status as a Confidential Informant

      Defendants move to exclude testimony or argument that Roneka

Jackson was a confidential informant prior to 1994.                   (Doc. 181.)

Howard opposes the motion.         (Doc. 232.)

      This court’s summary judgment order noted that “Jackson’s

status as a paid informant was Brady material.”                  Howard, 487 F.

Supp. 3d at 417 (citing cases).           There is no dispute that Jackson

was officially registered as a confidential informant by 1994.

The issue is        whether    there is any evidence         that     she was   an

informant before then. Such evidence would be relevant to Howard’s

Brady claim, as the longer Jackson served as a paid informant with

DPD, the more likely it may be that Dowdy might have learned that

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fact and would have had the duty to disclose it before Howard’s

trial.   See id. (“Dowdy does not dispute Jackson’s connections

with DPD . . . and acknowledges that they were never disclosed to

Howard, but he maintains that he never knew about these connections

at the time of Howard’s trial.”).

     At the hearing, the parties disputed the nature of Jackson’s

confidential informant status and when the duty of disclosure

required by Brady is triggered.         Specifically, Defendants argued

that the duty to disclose a confidential informant does not arise

unless the informant is officially registered or paid and that the

evidence shows Jackson was not officiality registered until 1994.

Howard argued that there is evidence that Jackson was an informant

for the DPD as early as 1991 and that when Jackson became an

informant is a factual question for the jury.

     The court directed the parties to file supplemental briefing

addressing when the duty to disclose a confidential informant

arises under Brady, which has now been filed.         (Docs. 256, 257.)

The parties appear to agree that when an informant receives some

form of payment or benefits for the information she provides, Brady

is triggered.    See Banks v. Dretke, 540 U.S. 668, 691 (2004)

(witness’s “paid informant status” is Brady material).

     The court need not resolve the precise moment at which Brady

is triggered and will assume for present purposes that it is when



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an informant receives payment or benefits for information. 34          There

is a question of fact as to whether Jackson was being paid for

information she gave prior to being officially registered as a

confidential informant in 1994.

       Betty Boswell Johnson, a former DPD officer who was one of

Jackson’s “handlers,” testified that Jackson became an informant

in 1994, when she was about 19 years old.            (Doc. 80 -13 at 84:6-

85:18.)     Boswell says that before that point, Jackson “was someone

I knew on the street that I’d see once in a while.”          (Id. at 84:12-

13.)     Specifically, Boswell testified that before Jackson became

an official informant, Jackson had informally provided information

to Boswell about various crimes in the area.           Boswell states that

Jackson “gave me a little information in the past . . . just

passing-by stuff. Nothing -- I mean, no money, no controlled buys.

It was more like just a kid in the neighborhood who may have seen

something and she would tell me.”          (Doc. 88-16 at 185:9-18.)

       However, Paul Martin, the former head of DPD’s organized crime

division and Boswell’s supervisor, testified that Jackson began

working as an informant when she was 17 years old, and that when

she died in 1995 at age 21, she had been working with DPD for four



34There is some case law suggesting a significant history of providing
information may itself be sufficient. See Monroe v. Angelone, 323 F.3d
286, 315 (4th Cir. 2003) (finding a Brady violation when the state did
not disclose the fact that a key witness had a “history of providing
information to the authorities before she testified against [the
defendant]”).

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years (i.e., since 1991).    (Doc. 87-7 at 71:2-9, 74:21-75:22.)          He

testified that she would have been paid to provide information

during this time.    (Id. at 71:10-12, 75:20-22.)      Martin states he

“wasn’t involved in the actual interplay” but had been “told by

Betty Boswell that [Jackson] was an informant as early as 17.”

(Doc. 87-7 at 75:23-25.)

     While a close call, there is a factual dispute over when

Jackson was a paid informant for DPD.         Accordingly, this motion

will be denied.

     P.    Jermeck Jones’s Invocation of the Fifth Amendment

     The   parties   have   filed   cross-motions    regarding    Jermeck

Jones’s testimony and his invocation of the Fifth Amendment when

questioned about his role in the Washington murders and involvement

in the New York Boys gang.     (Docs. 163, 201.)

     Jones was deposed in October 2019 and generally responded

“Plead the Fifth” to each question.      (See Doc. 231-1.)   The parties

“agree the jury should be informed in some manner that Jones

asserted his Fifth Amendment privilege in response to questions

about the Washington murders, [but] they have been unable to agree

about the admissibility of any of Jones’s testimony.”          (Doc. 246

at 5.)

     The Fifth Amendment provides that “no person . . . shall be

compelled in any criminal case to be a witness against himself.”

U.S. Const. amend. V.   “This prohibition allows a person to assert

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his or her Fifth Amendment privilege and refuse to answer official

questions put to him in any other proceeding, civil or criminal,

formal or informal, where the answers might incriminate him in

future criminal proceedings, but it does not preclude in a civ il

case the admissibility of the assertion of the Fifth Amendment

privilege or an adverse inference.”        Cargill, Inc. v. WDS, Inc.,

2018 WL 1525352, at *11 (W.D.N.C. Mar. 28, 2018) (citations and

quotations    omitted).    Indeed,      “The   Supreme   Court   has   long

recognized that there exists a ‘prevailing rule that the Fifth

Amendment does not forbid adverse inferences against parties to

civil actions when they refuse to testify in response to probative

evidence offered against them.’”         United States v. Mallory, 988

F.3d 730, 740 (4th Cir. 2021) (quoting Baxter v. Palmigiano, 425

U.S. 308, 318 (1976)).

     Here, as stated at the hearing, the court will permit Jones

to be called to testify and to invoke his Fifth Amendment right

against self-incrimination.     This is a civil case, “[a]nd a non-

party’s silence in a civil proceeding implicates Fifth Amendment

concerns to an even lesser degree than a party’s invocation of the

privilege.”    Id. (quotations and citation omitted).            The court

will handle each question on a case-by-case basis. Should Howard’s

counsel call Jones to testify, they are admonished not to inject

improper argument into their questions because they know Jones

will invoke his Fifth Amendment privilege, and that all questions

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are subject to the rules of evidence, particularly Rule 403.                        See

United States v. Branch, 537 F.3d 328, 342 (4th Cir. 2008) (in the

context of a criminal trial, noting that “placing [the witness] on

the stand solely to invoke his Fifth Amendment privilege ” could

lead    to    “unfair   prejudice      in    the    form     of   both   unwarranted

speculation by the jury and the [opposing side’s] inability to

cross-examine” the witness).                To the extent the parties come to

an agreement regarding the use of Jones’s deposition testimony in

lieu of calling him to testify, the court will consider that

evidence at trial.

       Q.     Eric Shaw’s Testimony

       Defendants move to preclude any testimony from Eric Lamont

Shaw.       (Doc. 188.)     The primary basis for this motion is the

court’s      ruling   in   its    summary        judgment    opinion     that   Shaw’s

deposition testimony -- in which he testified that he did not make

certain statements implicating Howard in the Washington murders

that    Dowdy    attributed      to   him    --   could     not   be   considered    in

assessing whether Dowdy’s fabrications may have caused Howard’s

conviction because Shaw never testified at Howard’s criminal trial

nor was his allegedly fabricated statement introduced or otherwise

used.       Howard, 487 F. Supp. 3d at 410-11.              From this, Defendants

argue that Shaw’s testimony cannot be the basis for Howard’s

fabrication claim.         Howard opposes the motion, arguing that Shaw

has relevant and admissible testimony even if he did not testify

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at Howard’s criminal trial.     (Doc. 224.)

     Howard is correct.      Shaw testified that he was a member of

the New York Boys, and at his deposition he spoke to his and

others’ involvement in the gang.        (See Doc. 87-6.)   This includes

testimony that Doris Washington sold drugs for the New York Boys,

that Roneka Jackson was affiliated with the gang, and that Howard

allegedly was not involved with gang.          (Id. at 13:6-8, 20:3-5,

25:19-26:4.)      This evidence is all potentially relevant to the

remaining failure to investigate and Brady claims.

     At the hearing, the parties disagreed on whether Shaw could

testify   about    Jermeck   Jones’s     alleged   involvement   in   the

Washington murders, with Defendants arguing there is no evidence

that Shaw had firsthand knowledge of who Jones was.               At his

deposition, Shaw stated he recognized a photograph of Jermeck

Jones, although he did not know his name.          In relevant part, the

deposition transcript reads:

     R.   Okay. And you recognize the man in this picture
     from your time working with the New York Boys, right?

     A.   Yes, ma’am.

     Q.   Now, he -- do you recall the name of this man?

     A.   No, ma’am.

     Q. Okay. I’ll represent to you his name is -- his real
     name is Jermeck Jones. Do you know if he went by any
     nicknames?




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     A. Uh-huh. They had a nickname. You don’t know people
     real names in what we come from, you just go by the
     nicknames. I can’t place the nickname.

     Q.   Okay.   But, you’re certain you remember this man?

     A.   Yes, ma’am.

(Id. at 29:16-30:3.)    Based on this testimony, Defendants have not

demonstrated that Shaw does not know Jermeck Jones.           Defendants’

motion will be denied, and if Shaw testifies to a proper foundation

for knowing Howard, Defendants will be permitted to cross-examine

Shaw on that, and any other issue.

III. CONCLUSION

     For the reasons stated,

     IT IS THEREFORE ORDERED that the pending motions are granted

in part and denied in part as follows:

     1.   Defendants’ motion to exclude the pardon of innocence

(Doc. 210) is GRANTED IN PART AND DENIED IN PART.             Plaintiff’s

motion to admit the pardon and a summary of the December 2016 Order

(Doc. 186) is GRANTED IN PART AND DENIED IN PART.           Reference to

the entry of the December 2016 Order is permitted as noted herein,

but there can be no reference during trial to any finding of

“factual innocence” in that order.         Reference to the pardon of

innocence will be permitted, subject to the parties’ submission of

briefing by November 5, 2021 addressing how the pardon should be

characterized, with any proposed limiting instruction.               There

shall be no reference to the pardon’s reliance on the December

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2016 Order’s finding of “factual innocence.”

     2.   Defendants’ motion to exclude Charles Drago’s report and

testimony (Doc. 147) is DENIED.

    3.    Defendants’ motion to exclude Marilyn Miller’s report

and testimony (Doc. 149) is GRANTED IN PART as to her first

opinion, DENIED as to her second opinion, and GRANTED as to her

third opinion, as noted herein.

    4.    Defendants’ motion to exclude testimony from Dr. Moira

Artigues (Doc. 151) is DENIED AS MOOT.           Defendants’ motion to

exclude testimony from Dr. Artigues regarding Howard’s alleged

“wrongful conviction” or “innocence” (Doc. 153) is DENIED, subject

to the limitations set out in this opinion.

     5.   Plaintiff’s motion to exclude Suzanna Ryan’s testimony

(Doc. 155) is GRANTED IN PART as to her opinion of “several days”

as noted and otherwise DENIED.

     6.   Plaintiff’s motion to exclude evidence of Howard’s other

acts is GRANTED IN PART and DENIED IN PART to the extent noted

herein, subject to future rulings by the court depending on the

evidence offered at trial.

     7.   Plaintiff’s motion to exclude purportedly inculpatory

hearsay evidence (Doc. 173) is DENIED.

     8.   Plaintiff’s motion to exclude opinion testimony from the

Durham assistant district attorneys (Doc. 176) is GRANTED IN PART

and DENIED IN PART to the extent noted herein.

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     9.    Plaintiff’s        motion    to   preclude    Defendants       from

introducing evidence of their good character is DENIED to the

extent noted herein.

     10.   Plaintiff’s motion to preclude Darryl Dowdy’s opinion

that Doris Washington engaged in prostitution (Doc. 184) is DENIED.

     11.   Plaintiff’s motion to permit leading questions (Doc.

191) is DENIED without prejudice.

     12.   Defendants’ motion to preclude argument that Defendant

Dowdy destroyed the Southerland tape or his notes (Doc. 167) is

DENIED.

     13.   Defendants’ motion to preclude any argument or testimony

from Mary Winstead regarding DPD document retention policies (Doc.

170), to the extent not agreed to by the parties, is DENIED.

     14.   Defendants’ motion to exclude testimony or argument that

the manner in which Roneka Jackson was killed by the New York Boys

(Doc. 178) is GRANTED to the extent noted herein.

     15.   Defendants’ motion to exclude evidence or argument that

Roneka Jackson was a confidential informant prior to 1994 (Doc.

181) is DENIED.

     16.   Plaintiff’s motion to permit evidence of Jermeck Jones’s

invocation    of   the   Fifth   Amendment (Doc. 163)      is   GRANTED    and

Defendants’    motion    to   exclude   evidence   or   argument   regarding

Jermeck Jones’s assertion of his Fifth Amendment privilege (Doc.

201) is DENIED to the extent noted herein.

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     17.   Defendants motion to preclude any testimony from Eric

Lamont Shaw (Doc. 188) is DENIED.



                                            /s/   Thomas D. Schroeder
                                         United States District Judge
November 2, 2021




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